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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


                                            Master File No. 17-8373 (RBK/AMD)

                                            AMENDED CLASS ACTION
  In re NAVIENT CORPORATION                 COMPLAINT FOR VIOLATION
  SECURITIES LITIGATION
                                            OF THE FEDERAL SECURITIES
                                            LAWS

                                            JURY TRIAL DEMANDED



       Lead Plaintiff Jesse Wayne Pritchard, individually and on behalf of all other
 persons similarly situated (hereinafter “Plaintiffs”), by their undersigned attorneys,
 alleges in this Amended Class Action Complaint for Violation of the Federal
 Securities Laws (the “Complaint”) the following upon knowledge with respect to
 their own acts, and upon facts obtained through an investigation conducted by their
 counsel, which included, inter alia: (a) review and analysis of relevant filings made
 by Navient Corporation (“Navient” or the “Company”) with the United States
 Securities and Exchange Commission (the “SEC”); (b) review and analysis of
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 Navient’s public documents, conference calls and press releases; (c) review and
 analysis of securities analysts’ reports and advisories concerning the Company; (d)
 review and analysis of complaints and other document relating to the cases against
 Navient; and (e) information readily obtainable on the Internet.
       Plaintiffs believe that further substantial evidentiary support will exist for the
 allegations set forth herein after a reasonable opportunity for discovery. Most of the
 facts supporting the allegations contained herein are known only to the defendants
 or are exclusively within their control.

                            NATURE OF THE ACTION

              This is a federal securities class action on behalf of a class consisting
 of all persons who purchased or otherwise acquired Navient securities between
 January 18, 2017 and October 4, 2017, inclusive (the “Class Period”), seeking to
 recover damages for violations of the federal securities laws under Sections 10(b)
 and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), and Rule
 10b-5 promulgated thereunder, against the Company and certain of its top officials.
              The U.S. Department of Education disburses roughly $95 billion to
 $100 billion per year through federal student loan programs (compared to $7 billion
 to $9 billion by private lenders). The total amount of student loan debt outstanding
 is estimated to exceed $1 trillion, according to some analysts. The sheer size of the
 debt creates a significant problem for the U.S. economy. Many financial experts
 believe that this student loan debt is a “bubble,” one that is on the verge of exploding
 in light of the ever-increasing borrower delinquency rates.
              Navient is a student loan servicer and, as alleged herein, is at least
 partially responsible for the precarious position of the student loan debt in this
 country. While the Company held itself out to borrowers, investors, and the U.S.



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 Government to be a highly efficient, compliant student-loan servicer with low
 default rates due to their ‘data-driven,’ ‘customer-centric’ practices (which
 supposedly helped borrowers find solutions unique to their circumstance and in the
 borrowers’ best interest), Navient is in fact accused of violating numerous consumer
 regulations for predatory lending and illicit servicing conduct. This case focuses on
 Navient’s public representations concerning its business and how those
 representations ultimately caused investors millions of dollars in losses when the
 truth about Navient’s servicing practices was revealed.
              By way of background, before the Class Period, Navient encouraged
 borrowers to rely upon Navient for help in finding personalized payment plans in
 the customer’s best interest. At various points in time (for instance, during Navient’s
 presentations at the September 12, 2016 Barclays Global Financial Services
 Conference and November 8, 2016 third quarter investor call), Navient made
 statements such as “Helping our Customers navigate the path to financial success is
 everything we stand for.” Navient also told investors that, “In Its Role As Student
 Loan Servicer, Navient Helps Borrowers Successfully Repay Their Loans” and that
 Navient works with borrowers to help them assess multiple repayment options and
 successfully repay loans.
              The U.S. Department of Education (“ED”) also publicly encourages
 borrowers to consult their federal student loan servicer to determine the best
 repayment option or alternative for that individual borrower. In several places on its
 website, the ED has advised borrowers to contact their student loan servicer before
 applying for any alternative repayment plan or forbearance, with statements such as
 the following: “Work with your loan servicer to choose a federal student loan
 repayment plan that’s best for you;” “Before you apply for an income-driven
 repayment plan, contact your loan servicer if you have any questions. Your loan
 servicer will help you decide whether one of these plans is right for you;” and

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 “Always contact your loan servicer immediately if you are having trouble making
 your student loan payment.” Navient’s public statements comported with the ED’s
 depiction of what a loan servicer should be.
              On January 18, 2017, the Consumer Financial Protection Bureau
 (“CFPB”), the Attorney General of Illinois (“IL AG”), and the Attorney General of
 Washington (“WA AG”) filed lawsuits against Navient claiming multiple violations
 relating to predatory lending practices as well as unfair and deceptive loan servicing
 practices. Of significance, these lawsuits claimed that Navient was funneling
 borrowers into “forbearance” arrangements instead of “income drive repayment”
 plans (which allow borrowers to repay loans in accordance with their respective
 incomes) (hereafter, “IDR”). The lawsuits also cited Navient for issues relating to
 misallocation and failed allocation of payment, failure to release co-signer relating
 to the payment allocation and lack of disclosure, and issues relating to IDR renewal
 communications and resulting loss of IDR benefits. While some of these practices
 had been remedied, partially due to the ED’s change in lending practices, some of
 these non-compliant, unfair, and deceptive practices were continual and on-going
 practices at Navient. The CFPB, IL AG, and WA AG complaints all put Navient on
 notice that such practices were not legal.
              Navient responded to the law suits immediately by denying all
 allegations. Navient issued a press release on January 18, 2017, stating that:
       The allegations of the Consumer Financial Protection Bureau are
       unfounded, and the timing of this lawsuit—midnight action filed on the
       eve of a new administration—reflects their political motivations.
        ...
       Navient has a well-established, superior track-record of helping student
       loan borrowers succeed in repayment. 49 percent of loan balances
       serviced by Navient for the federal government are enrolled in income-
       driven repayment plans. Assertions that we do not educate borrowers
       about IDR plans ignore the facts.


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        ...
       Navient has a responsibility to its customers, shareholders, and
       employees to defend itself—publicly and in court—against this
       unsubstantiated, unjustified and politically driven action. We cannot
       and will not accept agenda-driven ultimatums designed to get headlines
       rather than help for student borrowers. We will vigorously defend
       against these false allegations and continue to help our customers
       achieve financial success.
               Instead of addressing the problems or making efforts to fix non-
 compliant and misleading behaviors, Navient instead called them “unsubstantiated”
 and “unjustified” and continued with their deceptive, misleading, manipulative, and
 non-compliant practices. During the course of the Class Period (which continued
 until October 4, 2017), Navient repeatedly told investors that its primary objective
 was to assist its borrowers in accordance with their particular financial needs and, in
 so doing, fulfill their regulatory obligations as one of the largest student loan
 servicers in the country.
              Unbeknownst to Plaintiffs, Navient continued its illicit servicing
 practices throughout 2017 in spite of the lawsuits filed by the States’ Attorneys
 General and CFPB. During the Class Period, Defendants had a corporate practice of
 driving people into forbearance and away from IDR plans. In forbearance plans,
 interest accumulates and generally increases the amount of money owed on the loan.
 A loan in forbearance is also not, technically, in default, but instead in a ‘current’
 repayment. This improves the overall appearance of Navient’s operational status.
              Navient orchestrated this ‘forbearance scheme’ through a unique
 employee compensation program that incentivized employees to spend as little time
 as possible on calls with borrowers. Navient also instructed its employees to
 encourage forbearance whenever possible, and only offer IDR as a last resort.
 Importantly, the process for describing and enrolling a student in forbearance as
 opposed to an IDR plan was much quicker. Further, Navient’s employee



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 compensation programs mandated strict durational limits on calls with borrowers,
 thus allowing Navient to decrease labor costs by forcing Navient employee
 representatives to process more loans in a shorter amount of time.
              Defendants benefitted from placing borrowers into forbearance.
 Navient avoided operating costs by improperly placing borrowers into forbearance.
 Placing borrowers into forbearance allowed Navient to report fewer loans in default
 or delinquency and more loans listed as current. This practice allowed Navient to
 look less risky to investors as well as allowed them to artificially inflate earnings per
 share (“EPS”). Loan status and EPS were large factors in determining Executive
 Officer bonuses, thus the Individual Defendants had strong incentive to manipulate
 these metrics.
              Investors stayed in the dark until October 5, 2017. On October 5, 2017,
 the Pennsylvania Attorney General (“PA AG”) filed a complaint against Navient
 (the “PA AG Lawsuit”), focusing in particular on Navient’s scheme to place
 borrowers into forbearance (instead of IDR plans) as well as various problems with
 loan servicing.
              Investors reacted sharply to news of the PA AG’s Lawsuit. Following
 a televised interview of the PA AG as well as numerous reports from several news
 outlets, Navient’s stock price declined from $14.70 to $12.60 on unusually heavy
 volume in the span of just one day. According to Barrons.com, Navient’s market
 capitalization fell from $4 billion to $3.5 billion during this period. As a result of
 Navient’s efforts to conceal the true nature of its loan servicing practices, investors
 were tricked into buying stock and lost millions of dollars when the truth was finally
 revealed.
               As a result of Defendants’ wrongful acts and omissions, and the
 precipitous decline in the market value of the Company’s securities, Plaintiffs and
 other Class members have suffered significant losses and damages.

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                           JURISDICTION AND VENUE
              The claims asserted herein arise under and pursuant to §§ 10(b) and
 20(a) of the Exchange Act (15 U.S.C. §§ 78j(b) and 78t(a)) and Rule 10b-5
 promulgated thereunder by the SEC (17 C.F.R. §240.10b-5).
              This Court has jurisdiction over the subject matter of this action
 pursuant to 28 U.S.C. §§ 1331 and 1337, and Section 27 of the Exchange Act, 15
 U.S.C. § 78aa.
              Venue is proper in this District pursuant to § 27 of the Exchange Act
 and 28 U.S.C. §1391(b), as defendant has its principal executive offices located in
 this District and a significant portion of the defendants’ business, actions, and the
 subsequent damages, took place within this District.
              In connection with the acts, conduct and other wrongs alleged in this
 Complaint, defendants, directly or indirectly, used the means and instrumentalities
 of interstate commerce, including but not limited to, the United States mail, interstate
 telephone communications and the facilities of the national securities exchange.
                                       PARTIES
              Plaintiff Jesse Wayne Pritchard purchased Navient securities at
 artificially inflated prices during the Class Period and were damaged upon the
 revelation of the defendants’ fraud. Plaintiff filed his certification evidencing his
 transaction previously with the Court in connection with his motion for appointment
 as Plaintiff. Plaintiff’s certification is incorporated herein by reference.
              Defendant Navient provides asset management and business processing
 services to education, health care, and government clients at the federal, state, and
 local levels in the United States. Navient is incorporated in Delaware and maintains
 an office in Moorestown, New Jersey. The Company’s securities were traded on the
 Nasdaq Global Select Market (“NASDAQ”) under the ticker symbol “NAVI” and,



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 as of September 30, 2017, there were 263,012,203 shares of Navient common stock
 outstanding
               Defendant John F. Remondi (“Remondi”) has been the Company’s
 Chief Executive Officer throughout the Class Period.
               Defendant Somsak Chivavibul (“Chivavibul”) has been the Company’s
 Chief Financial Officer from April 2014 until March 26, 2017.
               Defendant Christian M. Lown (“Lown”) has been the Company’s Chief
 Financial Officer since March 27, 2017.
               Defendants Remondi, Chivavibul, and Lown are sometimes referred to
 herein as the “Individual Defendants.”
               Each of the Individual Defendants:
          a. directly participated in the management of the Company;
          b. was directly involved in the day-to-day operations of the Company at
               the highest levels;
          c. was privy to confidential proprietary information concerning the
               Company and its business and operations;
          d. was directly or indirectly involved in drafting, producing, reviewing
               and/or disseminating the false and misleading statements and
               information alleged herein;
          e. was directly or indirectly involved in the oversight or implementation
               of the Company’s internal controls;
          f. was aware of or recklessly disregarded the fact that the false and
               misleading statements were being issued concerning the Company;
               and/or
          g. approved or ratified these statements in violation of the federal
               securities laws.



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              The Company is liable for the acts of the Individual Defendants and its
 other employees under the doctrine of respondeat superior and common law
 principles of agency because all of the wrongful acts complained of herein were
 carried out within the scope of their employment.
              The scienter of the Individual Defendants and other employees and
 agents of the Company is similarly imputed to the Company under respondeat
 superior and agency principles.
              The Company and the Individual Defendants are referred to herein,
 collectively, as the “Defendants.”
              The Individual Defendants, because of their positions with the
 Company, possessed the power and authority to control the contents of Navient’s
 reports to the SEC, press releases, and presentations to securities analysts, money
 and portfolio managers, and institutional investors, i.e., the market. Each Individual
 Defendant was provided with copies of the Company’s reports and press releases
 alleged herein to be misleading prior to, or shortly after, their issuance and had the
 ability and opportunity to prevent their issuance or cause them to be corrected.
 Because of their positions and access to material non-public information available
 to them, the Individual Defendants knew that the adverse facts specified herein had
 not been disclosed to, and were being concealed from, the public, and that the
 positive representations which were being made were then materially false and/or
 misleading. The Individual Defendants are liable for the false statements pleaded
 herein.




                         SUBSTANTIVE ALLEGATIONS
 A.    Background


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              Navient engages in servicing of federal and private student loans for
 more than 12 million borrowers, including originating federal and private loans,
 marketing student loans and loan packages to schools and students, and servicing
 and collecting loans, under one corporate structure.
              Following a corporate reorganization in 2014, Navient was the
 successor to SLM Corporation and Navient, LLC. As part of this reorganization,
 Navient assumed certain liabilities related to the servicing and collection activities
 of SLM Corporation, Navient, LLC, and their subsidiaries, Sallie Mae, Inc. and
 Sallie Mae Bank. Among the liabilities assumed by Navient are all of the pre-
 reorganization servicing and collection conduct described in this Complaint. SLM
 Corporation was awarded the servicing contract with the ED in 2009, and that
 contract continues to be in force to the present (subject to various modifications that
 the parties to that contract have executed). All documents related to that contract
 were signed in the name of SLM Corporation or, subsequently, Navient, LLC.
 Accordingly, as a result of the 2014 corporate reorganization, Navient is currently
 the entity that contracts with the ED for the servicing of federal student loans.
              Navient operates in a heavily regulated industry, rendering compliance
 with applicable laws and regulations critical to the Company’s business. Navient
 was subject to, inter alia, the SCRA, CFPA, FDCRA, and other federal and state
 consumer protection and privacy laws.
              Navient is one of the ten major loan servicer that have contracts with
 the ED and one of four larger servicers awarded Title IV Additional Servicer
 (TIVAS) contracts. Title IV financial aid is federally funded aid such as Federal Pell
 Grant, Federal Supplemental Educational Opportunity Grant (SEOG), Federal
 Perkins Loan, Federal Subsidized and Unsubsidized Direct Loans. TIVAS
 contractors service these loans and grants. On August 27, 2014, the ED extended its
 TIVAS contract with Navient to service federal loans for five more years. As

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 Navient outlined in its 2016 10-K, under the terms of the contract extension, the
 allocation of additional volume will be determined twice each year based on the
 relative performance of the servicers utilizing five performance metrics: borrowers
 in current repayment status (30 percent), borrowers more than 90 but less than 271
 days delinquent (15 percent), borrowers 271 days or more but less than 360 days
 delinquent (15 percent), a survey of borrowers (35 percent), and a survey of ED
 personnel (5 percent). Quarterly scores in each metric are to be averaged together
 twice each year to calculate the final result for each metric.
              As of December 31, 2016, Navient serviced approximately 6.2 million
 accounts or $197.0 billion in loans and recorded $840 million in education related
 revenue. The education related revenue accounted for 82.8% of Navient’s revenue
 in 2016. Navient earned $151 million of revenue under the contract for the year
 ended December 31, 2016. The $151 million from ED service contracts accounted
 for 17.9% of Navient’s education related revenue in 2016. Intercompany loan
 servicing, including FFELP Loans owned by Navient, accounted for $389 million
 while other education related revenues, such as revenue from private education
 loans, accounted for $300 million. Navient noted in its 2016 10-K Risk Factors
 section, “If Navient is unable to improve its performance and increase its relative
 standing compared to the three other servicing companies with whom it competes,
 its ability to maintain or increase its servicing business with ED may be materially
 adversely affected.”
              ED revenue was critical to Navient’s overall operations. Because of its
 importance to the Company, the Individual Defendants actively monitored Navient’s
 ED operations, including the Company’s servicing practices.
              As of December 31, 2016, Navient’s principal assets consisted of: $111
 billion education loan portfolio ($87.7 billion in FFELP Loans, $23.3 billion in
 Private Education Loans); a leading education loan servicing platform that services

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 loans for more than 12 million DSLP Loan, FFELP Loan and Private Education
 Loan customers (including cosigners), including 6.2 million customer accounts
 serviced under Navient’s contract with ED; and a leading business processing
 platform through which we provide services for over 1,000 clients in the education,
 health care and public sectors. Navient is the largest servicer of education loans,
 servicing over $300 billion in education loans for more than 12 million customers.
 B.    Federal Student Loan Repayment Options
              Federal Student loans are loans funded or guaranteed by the federal
 government. Federal Student loans are also unique in that they are: 1) primarily
 need-based and made to borrowers regardless of credit history, with automatic
 approval if the student meets program requirements; 2) the interest rate is capped by
 the federal government; and 3) have a variety of repayment options available to
 borrowers, including repayment based on the borrower’s income.
              Borrowers typically access federal loans before private loans because
 federal student loans have lower interest rates and better repayment options.
              Students may utilize private loans to cover the gap between the cost of
 college and the total federal aid. These loans are extended to borrowers based on the
 lender’s assessment of the borrower’s creditworthiness and likelihood of repaying
 the loan, thus such loans often require a cosigner for approval or more favorable
 terms. No matter what kind of federal student loan a borrower has, and no matter the
 channel by which the government provided the loan to the borrower, the
 management or “servicing” of federal student loans is administered by private
 entities, such as Defendants.
              Upon first entering repayment, a federal student loan borrower is
 assigned to or selects a specific repayment plan. That borrower has the right to
 change his/her repayment plan assignment or selection at any time, including if the
 borrower is experiencing financial hardship or distress.

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              The ED offers numerous repayment plans to eligible borrowers with
 federal student loans, which are designed to help borrowers manage their student
 loan debt and make monthly repayment of these loans more affordable. These
 repayment plans include several IDR plans, such as Income-Based Repayment
 (“IBR”) and Pay As You Earn Repayment (“PAYE”). Most federal student loans are
 eligible for at least one IDR plan.
              The monthly amount that the borrower will pay under the IDR plans is
 set at an amount that is intended to be more affordable based on the borrower’s
 income and family size, and may be as low as $0 per month.
              In addition to providing a more affordable monthly payment, most IDR
 plans offer several other benefits for federal student loan borrowers, especially
 borrowers experiencing long-term financial hardship. For borrowers with subsidized
 loans whose monthly payment amount does not fully cover accrued interest, the
 federal government will pay any remaining unpaid interest that accrues on those
 loans during the first three consecutive years of enrollment in the plan.
              This interest subsidy can be a significant benefit to such borrowers
 because they generally have no obligation to ever pay the remaining unpaid interest
 that accrues during those three years. Furthermore, because that unpaid interest is
 paid in full by the federal government, it is not added to the principal balance of the
 loan. When interest is not paid, it can be added to the principal balance of the loan;
 additional interest is then charged on the increased principal balance of the loan,
 which could significantly increase the total amount repaid over the life of the loan.
 Thus, the interest subsidy available to many borrowers enrolled in IDR plans can
 reduce these additional harmful effects, mitigating the financial strain on those
 borrowers.
              Another benefit available to borrowers who are enrolled in an IDR plan
 is forgiveness of the remaining balance of their federal loan, either after making 20-

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 25 years of qualifying payments for most IDR plans or 10 years of qualifying
 payments while working full time for certain public service employers.
              Federal student loans are generally also eligible for forbearance, which
 is a short-term, temporary postponement of payment. With forbearance, a borrower
 experiencing financial hardship or illness may be able to stop making payments or
 reduce his or her monthly payment for a defined period of time.
              Forbearance is typically not suitable for borrowers experiencing
 financial hardship or distress that is not temporary or short-term. Borrowers who
 enroll in forbearance face significant costs, which generally increase the longer the
 borrower is in forbearance. These include the accumulation of unpaid interest and
 the addition of that unpaid interest to the principal balance of the loan. In addition,
 in some cases, following a forbearance, a loan may be reamortized, where the
 monthly payments may be recalculated, which can lead to an increase in the
 borrower’s monthly payment amount. As a result of these costs, long-term
 enrollment in forbearance can dramatically increase the total amount due each month
 after the forbearance period ends and over the repayment term for a borrower’s
 federal loans.
              U.S. News and World reports discussed the dangers of forbearance,
 “The problem with forbearance is that interest still accrues on all loans, even
 subsidized Stafford loans, and if you do not pay the interest, it is capitalized – or
 added – on to the principal balance at the end of the forbearance period. This means
 that borrowers who use forbearance end up paying interest on top of interest, which
 isn't good. The capitalizing interest can also cause your monthly payment to increase
 because of the larger balance, depending on your payment plan. So if you can't afford
 your student loan payments today, you may have an even harder time affording them
 once the forbearance has concluded.”



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              Because IDR plans enable borrowers to avoid or reduce these costs
 associated with forbearance, for borrowers whose financial hardship is not
 temporary and short-term, enrolling in an IDR plan is usually a significantly better
 option than forbearance.
              Because of the number and complexity of repayment options available
 for federal loans, a conversation about alternative repayment plans and the
 borrower’s financial situation is usually time-consuming.
              Moreover, since a borrower is required to submit a paper or online
 application, and include certain income tax documentation with that application, to
 enroll in an IDR plan, the process of enrolling a borrower in such plans sometimes
 requires multiple, lengthy conversations with the borrower.
              In contrast, enrollment in forbearance can often be completed over the
 phone, in a matter of minutes, and generally without the submission of any
 paperwork.
              Putting a borrower into forbearance is less labor-intensive both in terms
 of call-length and paperwork, thus it is more efficient for Navient to put borrowers
 into forbearance rather than expend the time and labor necessary to discuss and then
 enroll a borrower into an IDR plan.
              The ED has publicly encouraged borrowers to consult their federal
 student loan servicer to determine the best repayment option or alternative for that
 individual borrower. In several places on its website, the ED has advised borrowers
 to contact their student loan servicer before applying for any alternative repayment
 plan or forbearance, with statements such as the following: “Work with your loan
 servicer to choose a federal student loan repayment plan that’s best for you”; “Before
 you apply for an income-driven repayment plan, contact your loan servicer if you
 have any questions. Your loan servicer will help you decide whether one of these



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 plans is right for you”; and “Always contact your loan servicer immediately if you
 are having trouble making your student loan payment.”
 C.    IDR Recertification
              In addition to the paperwork required to enroll a borrower in an IDR
 plan, a borrower in such a plan must also complete an annual recertification form
 each year to document his/her current income and family size, which is then used to
 adjust the borrower’s payment amount. Processing this renewal paperwork further
 increases the employee time that Navient must devote to borrowers who enroll in an
 IDR plan.
              This affordable payment amount applies for a period of twelve months.
 At the end of this twelve-month period, the affordable payment amount will expire
 unless the borrower renews his/her enrollment in the plan before the expiration date.
 To do so, the borrower must “recertify” his/her income and family size by submitting
 updated information, including documentation of income each year.
              If the twelve-month period expires because the borrower has not timely
 recertified income and family size, several negative consequences are likely to
 occur. First, the borrower’s monthly payment amount may immediately increase
 from a low affordable amount to one that is typically in the hundreds or even
 thousands of dollars.
              Other significant consequences that will occur when the twelve-month
 period expires without a timely recertification include (1) the addition of any unpaid,
 accrued interest to the principal balance of the loan; (2) for subsidized loans in the
 first three years of enrollment in an IDR plan, the loss of an interest subsidy from
 the federal government for each month until the borrower renews his/her enrollment;
 and (3) for some borrowers who enroll in forbearance when the twelve-month period
 expires, delayed progress towards loan forgiveness because the borrower is no
 longer making qualifying payments that count towards loan forgiveness. These

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 consequences are all irreversible, thus it is extremely important that loan servicers
 give borrowers clear and timely notice of the process and timeline for renewal.
 D.    Cosigner Release
              A cosigner is generally necessary for a borrower to obtain a private
 student loan, or to obtain that loan with more favorable terms.
              Once a borrower enters repayment on his/her private student loan, he
 or she generally can apply to release the cosigner from the loan after meeting certain
 eligibility criteria. This option is generally available to most Navient borrowers with
 cosigned private student loans.
              Since at least January 2010, one of the eligibility criteria that Navient
 has required private student loan borrowers to meet before they can apply to release
 a cosigner is that the borrower must make a minimum number of consecutive, on-
 time payments consisting of both principal and interest. Since January 21, 2014,
 Navient has required the borrower to “make 12 consecutive, on-time principal and
 interest payments” before applying for cosigner release. Prior to January 21, 2014,
 and depending on the applicable terms of the borrower’s loan, Navient required
 borrowers to make between 12 and 48 “consecutive, on-time principal and interest
 payments” before applying for cosigner release. Navient did not, however,
 specifically define for borrowers what it meant by “consecutive” or “on-time”
 payments.
 E.    Borrower Repayment
              One of Navient’s primary responsibilities as a student loan servicer is
 to process payments made by borrowers and cosigners on their student loan
 accounts. A borrower in repayment will sometimes make a payment that is a multiple
 of the monthly payment amount due. For example, a borrower whose monthly
 payment amount due is $100 may choose to pay $200 or $300 instead of $100. This
 type of overpayment is a called a “multiplier overpayment.”

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              Borrowers or cosigners may specifically designate how payments are
 made, whether it is a lump sum to pay off a specific loan, if the payment should only
 be applied to one specific account, if the payment should be made pro rata amongst
 many loans, if the payment should apply to the principle, or if should be applied to
 interest.
              Navient has used a default allocation methodology that was not
 disclosed on any billing statement, promissory note, or printed or online resource
 available to borrowers until 2013. The default allocation methodology varied based
 on whether the loan was federal or private, as well as whether the borrowed
 submitted an underpayment, overpayment, or an overpayment that was a multiple of
 the borrower’s monthly payment amount due.
              For private loans with cosigners, when a borrower makes such a
 “multiplier overpayment,” Navient generally applies the payment to satisfy the
 borrower’s current monthly payment due, and then places the borrower in a “paid
 ahead” status for the subsequent months that have been satisfied by the excess
 payment.
              For each month that the borrower is in a “paid ahead” status on his/her
 private student loan, Navient sends the borrower a bill indicating that the payment
 due for that month is $0 because the borrower is not required to make any payment
 that month in order to remain current on his/her loan. Thus, there is no “on-time
 principal and interest payment” that is even due that month.



 F.     The Complaints filed by the Consumer Financial Protection Bureau and
 State Attorneys General in Illinois and Washington Put Defendants on Notice
 of Violations.




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              On January 18, 2017, the CFPB, the IL AG, and the WA AG filed
 lawsuits against filed a lawsuit against Navient claiming multiple violations relating
 to predatory lending practices, as well as unfair and deceptive loan servicing
 practices relating failures to disclose all loan payment options resulting in the
 funneling borrowers into forbearance versus IDR, issues relating misallocation and
 failed allocation of payment, failures to release co-signers relating to the payment
 allocation practices and lack of disclosure, and issues relating to IDR renewal
 communications and borrowers’ subsequent loss of IDR benefits.
              The complaints alleged Navient made subprime loans to students who
 would not otherwise qualify, including borrowers with poor credit who took out
 loans to attend schools with high dropout rates as part of custom “packages” for
 schools to persuade the schools to make Sallie Mae (Navient’s predecessor) a
 “preferred lender.” These packages consisted of government-backed Federal Family
 Education Loans Program (FFELP) loans; private loans for borrowers who qualified
 for Sallie Mae’s standard products (prime loans); and private loans for borrowers
 who were ineligible for Sallie Mae’s standard loan products (subprime loans). By
 becoming a “preferred lender,” Sallie Mae was able to originate a higher volume of
 the highly-profitable FFELP and prime loans.
              These subprime loans would often be accompanied by high interest
 rates as well as high origination fees. The complaints allege that Sallie Mae unfairly
 and deceptively engaged in a series of acts and practices to facilitate originating
 expensive, risky loans to many borrowers who had virtually no chance of repaying
 them, and that such loans were acceptable because Sallie Mae only required that the
 overall package of loan products made to a school needed to be profitable, not each
 loan within the package.
              The complaints also allege that, despite Navient’s representations that
 they would help borrowers experiencing financial difficulties find solutions that

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 were in the best interest of the borrowers, Navient instead steered borrowers into
 forbearance as opposed to IDR plans that were usually a significantly better option
 than forbearance. This practice was in spite of statements on Navient’s website that
 state that forbearance is appropriate for borrowers who “have a problem making on-
 time payments due to a temporary financial difficulty.”
             The complaints state that due to Navient’s incentive compensation plan,
 which compensated employees, in part, based on average call time, it was financially
 detrimental for employees to engage in the lengthy conversations needed to
 appropriately determine the right solution for each borrower. This problem was
 compounded by the fact that conversations about IDR and the amount of paper work
 required to initially enroll borrowers in IDR plans, and then later renew IDR plans,
 was vastly more time-consuming than the time needed to put a borrower into a
 forbearance plan.
             The complaints also allege that Navient failed to both clearly notify
 borrowers of a specific renewal deadline for the borrowers’ IDR plans and to clearly
 disclose the extreme, negative consequences of that a borrower may face if timely
 IDR renewal was not made.
             The complaints note that this practice was particularly egregious for
 those borrowers receiving electronic communications as the e-mails Navient sent (as
 Sallie Mae) had a subject line simply stating “Your Sallie Mae Account Information”
 or “New Document Ready to View,” but did not indicate that the emails contained
 any important renewal information. Navient tracked the number of borrowers who
 click on the hyperlinks contained within these emails that Navient sent to borrowers
 about IDR renewal, thus knew or should have known that many borrowers did not
 view the electronic renewal notices.
             The complaints further alleged deceptive practices regarding release of
 cosigners, particularly in defining what “consecutive” or “on-time” payments were

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 and how over-payments were applied. These cosigner release programs required a
 “consecutive, on-time principal and interest payment” for 12 to 48 months. When a
 borrower seeking to release of a cosigner would make a “multiplier overpayment,”
 the borrower would be played in a “paid ahead” status for the subsequent months
 that had been satisfied by the excess payment, and then would get a bill indicating
 that the payment due for the subsequent months was $0. When a borrower in “paid
 ahead” status failed to make payment on a $0 balance, it was deemed to be a failure
 to make a “consecutive, on-time principal and interest payment” for the month, thus
 resetting the borrower’s progress to zero months.
               The complaints also alleged general loan payment processing problems
 relating to failing to disclose how payments were allocated, repetitive failure to
 process payments as instructed, and failure to post payment at all. As a result of these
 practices, borrowers would receive harassing phone calls, would incur improper late
 fees and increased interest charges, and would have inaccurate, negative information
 reported to consumer reporting agencies.
               In association with the loan payment processing fees, the complaints
 alleged a failure within Navient’s systems to identify, effectively track, or
 understand the problems that borrowers were experiencing and take action to correct
 these problems.
 G.    Navient’s Response to the States’ Attorneys General and CFPB’s
 Allegations
               Navient responded to the law suits immediately, denying all
 allegations. Navient’s press release on January 18, 2017 stated:
       The allegations of the Consumer Financial Protection Bureau are
       unfounded, and the timing of this lawsuit—midnight action filed on the
       eve of a new administration—reflects their political motivations.
        ...



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       Navient has a well-established, superior track-record of helping student
       loan borrowers succeed in repayment. 49 percent of loan balances
       serviced by Navient for the federal government are enrolled in income-
       driven repayment plans. Assertions that we do not educate borrowers
       about IDR plans ignore the facts.
        ...
       Navient has a responsibility to its customers, shareholders, and
       employees to defend itself—publicly and in court—against this
       unsubstantiated, unjustified and politically driven action. We cannot
       and will not accept agenda-driven ultimatums designed to get headlines
       rather than help for student borrowers. We will vigorously defend
       against these false allegations and continue to help our customers
       achieve financial success.
              Instead of addressing the problems or making efforts to fix non-
 compliant and misleading behaviors, Navient instead called them “unsubstantiated”
 and “unjustified” and continued with their deceptive, misleading, manipulative, and
 non-compliant practices.
              Investors relied on Navient’s statements in response to these
 complaints, and believed that Navient was acting in accordance with its
 representations about its servicing practices and overall commitment to the financial
 health of its borrowers. This was untrue, however, and, as a result, artificially
 inflated Navient’s stock price.
 H.    Navient Continued Its Illicit Servicing Practices into 2017 Despite the
 States’ Attorneys General Complaints and Regulator Charges
              Navient, instead of announcing efforts to make any changes or reforms,
 denied all allegations and continued to tout itself as the industry leader in loan
 servicing, with compliant, ‘customer-centric,’ ‘data-driven’ loan servicing practices
 with the capacity to competently expand its student loan servicing base.
              In Navient’s 2017 4th Quarter Investor Deck, Navient reported the
 following forbearance rates: 12.9% in 2016 and 11.2% in 2017 for FFELP Loans
 Segment “Core Earnings” Basis and 3.4% in 2016 and 3.8% in 2017 for Private


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 Education Loans Segment “Core Earnings” Basis. Within the Private Education
 Loan Segment, forbearance rates were 5.7% in 2016 and 6.8% in 2017 for Troubled
 Debt Restructurings (“TDR”) loans and 1.6% for both 2016 and 2017 for non-TDR
 loans. These statistics show that there has been little, if any change in Navient’s
 practices from 2016 through 2017. In fact, it is noteworthy that the forbearance rate
 for Navient’s non-TDR Private Education loans remained constant while the TDR
 Private Education loans increased.
              Information obtained from former Navient employees confirms that the
 Company did not change its practices during 2017, but instead maintained its
 predatory servicing practices.
              CW1, a Navient employee from March 23, 2015 to Nov 11, 2016 as a
 loan specialist based in the Muncie, Indiana office, verified many of the egregious
 practices alleged in the CFPB, IL AG, and WA AG complaints. CW1 worked
 primarily with borrowers who were having difficulty paying and in default
 prevention, as well as in special investigations regarding borrowers who had died.
 He primarily processed ED loans but also handled some private loans. He handled
 inbound calls only while other teams handled outbound calls. When asked what the
 procedure was when a borrower called up and said they were having a hard time
 paying, CW1 replied: “Do you want to know what I did or what they told us to?
 Because it’s two different things.” CW1 described what he called a “hierarchy” of
 loan repayment options for borrowers experiencing financial difficulty. The first
 option staff were told to direct borrowers towards was forbearance, followed by the
 graduated repayment plan, then offering an extended payment plan, and finally
 offering IDR as a last resort. Loan specialists were also instructed that if at any point
 a borrower got frustrated and said they were going to sue Navient, to tell borrowers
 to have their legal counsel reach out, and hang up immediately



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              CW1 said that under this “hierarchy” script, after forbearance, Navient
 staff was supposed to steer borrowers to the graduated repayment plan. CW1 says
 supervisors told to sell the graduated repayment plan by telling borrowers that they
 would have significantly lower, interest-only payments to start. The borrower would
 then be told that each year their payments would increase but they would still be able
 to pay off the loan in the original 10 years. Navient did not necessarily give
 borrowers any information on how much their payments would incrementally
 increase over the years or how much more they would be paying over the life of the
 loan. He said that Navient’s management rationalized this to loan specialists that by
 the fifth year most people would be doing better financially and therefore able to
 handle the higher payments from the graduated payment plan. If a borrower did not
 want to go onto a graduated repayment plan, a specialist was supposed to direct them
 to an extended payment plan. An extended payment plan would extend the length
 of the term of the loan, which would, over the life of the loan significantly increase
 the amount of interest a borrower pays.
              Only if a borrower said no to all three of those options (i.e., forbearance,
 graduated, extended) were specialists supposed to offer the IDR plan. CW1 said that
 his practices deviated from Navient’s scripted practices of offering forbearance first
 because he would attempt to talk borrowers out of going into forbearance and instead
 direct them to IDR as he knew that those programs were in the better interest of the
 borrower. “Unless the person just does not want to save money, there was never a
 reason for anybody not to put into income-driven.” CW1 explained that even under
 IDR their interest rates would drop and their interest would not compound and they
 would still be able to pay more or pay the loan off should they so choose. At one
 point CW1 said he heard a team leader explain the repayment “hierarchy” by saying
 that getting borrowers into graduated and extended repayment plans was a priority
 for the company because of compounding interest.

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               CW1 said there was a lot of pressure and attention paid to call time at
 Navient. The target time for an inbound call was 4 minutes or less, which CW1
 described as being insufficient for the complexity of the tasks at hand. Navient
 management would write up workers in the call center whose times were over the
 monthly average and/or above the 4-minute target. Navient management also judged
 on a peer-to-peer level, such that if everyone else in the call center was exceeding
 the 4-minute mark and completing calls in 2 minutes, then workers would be written
 up for that as well because management believed you could be moving calls faster
 if your peers were moving calls faster. “If you wanted to keep your job, you had to
 get callers off the phone. So, things that needed to get done didn’t get done.”
               CW1 said he could get through a forbearance call in 2 minutes, start-
 to- finish. Even faster, he said, if he read the script really fast because, he said, there
 was no requirement for borrowers to understand the disclaimers about interest
 compounding. He said the words just need to be on the recording in case the
 recording is ever played back. Getting someone onto the graduated repayment would
 take him about 1 and a half minutes. In contrast, IDR enrollment would take 15
 minutes to enroll, CW1 said, largely just because of time it takes to explain to people
 how the process works. He attributed that to the frequent changes in IDR options
 (income-contingent repayment vs. pay-as-you-earn, etc.)
               CW1 said that Navient management instructed CW1 and other loan
 specialists not to spend time walking borrowers through the ED website. Instead,
 staff were told to direct borrowers to call the ED for help with navigating the website.
 CW1 says that the ED was paying Navient for this service that it was not providing.
               CW1 said he could earn as much as a $1,200 bonus per month under
 Navient’s incentive program. He said that employees would start out the month
 qualified for a bonus and slowly become disqualified for it if you did not meet very
 specific metrics. Those metrics included staying below the 4-minute average call

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 time, caller survey ratings staying above a 90% satisfaction rating, number of calls
 resolved, and sticking to 95% adherence to the work schedule. Adherence refers to
 the fact that their work schedule was regulated down to the minute. If you clocked
 in at 8:30 a.m. and were supposed to be on break at 9:30 a.m. but a call went too
 long and you didn’t get off the phone until 9:45 you were considered “out of
 adherence.” Many workers would rush callers off the phone, particularly as it came
 close to break times or other adherence checks, so that they could stay in adherence
 and secure their bonuses.
              CW1 described a piece of management software that supervisors use to
 monitor their call processors. That software shows how long everybody has been on
 the phone. When someone has been on the phone approaching 5 minutes, their icon
 turns red. If it gets to 20 minutes, the icon starts flashing. CW1 said that because of
 this you would have team leads and supervisors sending him chat messages while
 he was on lengthy calls with borrowers telling him to end the call or find ways to get
 them off the call. CW1 said that this was particularly the case because supervisor’s
 bonuses were based on the adherence of the employees they supervised. He
 described one incident that a supervisor yelled at her subordinates because she did
 not get a bonus due to her subordinates being too far out of adherence. In addition,
 CW1 said there is a separate division called “workforce management” whose sole
 function is to enforce adherence. Workforce management staff would also
 simultaneously send chat messages telling CW1 and other callers to get off of
 lengthy calls.
              CW1 said he was warned multiple times for not following that
 hierarchy, offering IDR to most callers that came to him, and exceeding call times.
 He was fired after they monitored a call on which a borrower wanted to sign up for
 the income-contingent repayment plan, a subcategory of IDR. CW1 instead directed



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 the caller to the pay-as-you-earn IDR option, believing it to be a better financial
 option for him.
              CW1 also described the problems with misapplied payments. He
 described them as an “ongoing problem.” CW1 said that when payments were
 processed by phone, it was easier and more likely for special instructions to be
 followed. However, this ran up against the pressure that call center workers had to
 get borrowers off the phone as quickly as possible because the more special
 application instructions were followed the more time the call took. CW1 said
 misapplied payments always happened to people who mailed in their payments via
 check and gave instructions that you wanted them applied a certain way, as those
 instructions would always be ignored. CW1 said that payments processed on the
 website also would not properly apply payments when borrowers attempted to select
 specific loans. He would regularly get calls from borrowers complaining about this
 after the payments were misapplied. CW1 said that he was able to, after a customer
 complained, back out any interest that should not have been there if a customer’s
 special instructions were ignored. But that was contingent on a customer catching
 the error, complaining, and escalating the complaint until it was resolved.
              CW1 also described Navient’s practice of cashing and holding onto
 improperly addressed checks without properly applying payments to borrowers’
 accounts. CW1 said that borrowers were often confused about to which entity they
 should mail payments: Navient or the ED. For ED loans, even those processed by
 Navient, physical checks apparently needed to be mailed to the ED’s payment
 processing center in Georgia. CW1 described a special screen in the Navient
 database software where loan specialists could view all of the checks held in this
 state of limbo. He said on this screen he would see millions of dollars of checks that
 had been cashed, but the money from which had not been applied to any loan. CW1
 called this the “299 screen,” after the internal code Navient used to refer to the

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 checks in limbo. He said that on this screen checks were organized by borrower’s
 social security number. He said this made borrowers or parents or co-signors
 confused and angry because they would see that the check was cashed and money
 withdrawn from their accounts, but there was no corresponding decrease in balance
 on any loan. CW1 said this made the entire limbo process particularly “ridiculous”
 because loans are looked up by a borrower’s social security number, so it would
 have been very easy to simply query all of those social security numbers to see if
 any of those borrowers had outstanding ED loans that the checks should have been
 applied to. CW1 said 99% of the checks on the 299 screen had corresponding social
 security numbers. He said 1% of the checks there were customers who sent in checks
 with no social security numbers or account information on them.
                 CW1 gave the example of one call he received from a man who
 attempted to pay off his daughter’s ED loan. He mailed in a $350,000 cashier’s check
 to Navient’s payment processing center in Pennsylvania. Despite the fact that his
 daughter’s name and account number were included with and on the check, Navient
 held onto the check and put it in escrow. CW1 said it would have been obvious if
 anyone had typed in the account number on the check that they would have seen it
 was an ED loan and Navient could have easily forwarded the check to the ED.
                 CW2 worked at Navient from June 2015 to June 2017 as a Student
 Loans Customer Service Specialist in the Spanish-speaking group based in the
 Wilkes-Barre, PA office, and confirmed that egregious practices continued into the
 class period.
                 CW2 said forbearance was “supposed to be our last option” but the way
 the options were presented, the company’s script hid the risk and made it sound
 attractive and penalty-free to struggling borrowers. The way Navient instructed its
 customer service team to describe forbearances, it made that option sound attractive
 to struggling borrowers. “We were told to tell them they’d have a $0 per month

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 payment, what we weren’t telling them is their interest is adding up,” CW2 said.
 “We weren’t able to tell them.”
              CW2 also explained that forbearance reduced the paperwork for
 Navient. CW2 said it did because it involved one online tool, while deferment or
 IDR options required more paperwork, such as documentation from a school or
 government agency.
              CW2 also said that Navient’s inbound call representatives were
 incentivized to end calls within an established upper-range time limit of between
 seven minutes and ten minutes, to keep hold-time for callers under 30 seconds, and
 sometimes offered incentives for doing things like enrolling buyers in paperless
 billing. CW2 said, “I know they gave incentives depending on the situation, but
 mostly just for ending calls in time and we couldn’t put callers on hold for more than
 30 seconds.” That rule was problematic because if a representative did not know the
 answer to a question asked by a borrower the system did not leave much room for
 the worker to ask their supervisor without leaving the borrower on hold for too long
 and being penalized.
               CW2 discussed this in context of the forbearance program, “We had
 this system, if [the caller] said, ‘Hey, I want to be placed in forbearance,’ I click on
 forbearance, then the forbearance script pops up and I tell them the rules. The thing
 that does suck is, because we were timed, I caught myself and others reading really
 quick. Most people didn’t understand and just agreed.” CW2 said he noticed himself
 speeding up about halfway through the script, as the clock ticked down. “We’d lose
 our bonus at the end of time,” CW2 said. To complete the forbearance script without
 going over the mandated time CW2 stated, “We had to power talk to get through --
 half the people didn’t understand what we said.” CW2 explained that it was
 important to read the entire forbearance script that appeared on their company portal.



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              CW2 noted, “Honestly, most of the calls I got, everyone had issues.”
 CW2 often spoke with Spanish-speaking callers who didn’t know and were never
 told how to repay their loan. CW2 explained that the income-based repayment
 options were better than forbearance, but not much for those with non-subsidized
 loans, but Navient did not allow its representatives to tell borrowers about the major
 downside of each option. CW2 received about 120 calls each work day from
 borrowers who were in a variety of situations. He estimated that on Monday through
 Thursday most of the callers were in trouble, and on Fridays, most people who called
 in wanted to make payments. Some borrowers called in to make their payments
 because they had little confidence in paying by mail or through the website, CW2
 said. Checks and money orders could be mailed to Navient, but the process was
 confusing, CW2 recalled.
 I.    Despite Its Ongoing Consumer Violations, Navient Represented Itself as
 a Compliant, Trusted Source for Borrowers to Turn to for Assistance with
 Student Loans.
              Despite the three lawsuits against Navient for its egregious loan
 servicing practices filed on January 18, 2017, Navient denied any culpability and
 continued to hold itself out as an industry leader in student loan servicing, with
 compliant, ‘customer-centric,’ ‘data-driven’ loan servicing practices with the
 capacity to competently expand its student loan servicing base.
              Defendants repeatedly assured investors during the Class Period that
 forbearances were meant to afford temporary (not long-term) relief to borrowers,
 and that Navient engaged in a careful, borrower-specific evaluation of whether to
 grant forbearances. Defendants also repeatedly assured investors that Navient was
 diligent in complying with applicable laws and regulations. While compliance would
 naturally be of great concern to investors in a loan-servicer, it was even more
 important to Navient investors in light of the scrutiny the Company faced from the

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 CFPB and other agencies relating to the loan-servicing and collection practices of
 Navient’s wholly-owned subsidiaries
                                  Navient’s Website
             Navient, as a servicer of federal loans, has repeatedly and continually
 encouraged borrowers experiencing financial hardship to contact Navient for
 assistance in evaluating the various alternative repayment options. For example,
 from January 18, 2017 through April 4, 2018, Navient’s website has included the
 following statements inviting borrowers to contact Navient for guidance in finding
 long-term repayment solutions:

       • “[I]f you’re having trouble, there are options for assistance, including
       income-driven repayment plans, deferment, forbearance, and solutions
       to help you avoid delinquency and prevent default …. We can work
       with you to help you get back on track, and are sometimes able to offer
       new or temporarily reduced payment schedules. Contact us at 800- 722-
       1300 and let us help you make the right decision for your situation.”

       • “If you’re experiencing problems making your loans payments, please
       contact us. Our representatives can help you by identifying options and
       solutions, so you can make the right decision for your situation.”

       • “Navient is here to help. We’ve found that, 9 times out of 10, when
       we can talk to a struggling federal loan customer we can help him or
       her get on an affordable payment plan and avoid default. If you're
       worried about missing your payments or want to learn about other
       payment plans, engage with your servicer.” (emphasis added).
             Defendants’ website has stated since at least January 18, 2016 that
 forbearance is appropriate for borrowers who “have a problem making on-time
 payments due to a temporary financial difficulty.” (emphasis added).
             The statements identified above in emphasis were materially
 misleading because they created the false impression that Navient was customer-
 oriented and conducted itself in a manner that was compliant with consumer



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 regulations. In reality, Navient did not. Navient instead placed borrowers into
 forbearance arrangements when IDR plans would have been more suitable.
 Additionally, these statements implied that forbearance was only used for temporary
 problems, when in reality, Navient often pushed troubled borrowers into forbearance
 when the borrowers had long-term difficulties. In fact, Navient would place
 borrowers into repeated forbearances.
                           Press Release – January 18, 2017
              On January 18, 2017, in response to the PA AG Complaint, Navient
 denied any wrongdoing and issued a press release, stating, in part, “Navient has a
 well-established, superior track-record of helping student loan borrowers succeed in
 repayment. 49 percent of loan balances serviced by Navient for the federal
 government are enrolled in income-driven repayment plans. Assertions that we do
 not educate borrowers about IDR plans ignore the facts.” (emphasis added).
              The statements identified above in emphasis were materially
 misleading because they created the false impression that Navient was customer-
 oriented and conducted itself in a manner that was compliant with consumer
 regulations, which included educating borrowers about IDR plans. Navient was
 referring to the ‘ignored’ facts that indicate that Navient places more borrowers into
 IDR plans than other servicers. In reality, Navient’s practices incentivized
 employees to keep calls as short as possible using a script with a ‘hierarchy’ in which
 IDR was only discussed as a last resort, if at all.
                          Conference Call – January 25, 2017
              In the January 25, 2017 Navient Fourth Quarter 2016 earnings call. Jack
 Remondi, Navient’s CEO, reinforced Navient’s commitment to borrower success,
 stating “Our focus in the near term here is going to continue to communicate and
 demonstrate how we deliver borrower success. This means helping borrowers
 manage their payments, as I have mentioned a few times, in terms of some of our

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 statistics, our customers are less likely to be delinquent, they're more likely to be
 enrolled in income driven repayment programs, and they are substantially less
 likely to default.” (emphasis added).
              The statements identified above in emphasis were materially
 misleading because they created the false impression that Navient was customer-
 oriented and was helping borrowers to be put in the best program to avoid default.
 This statement also falsely portrayed that their customers are less likely to be
 delinquent. In reality, Navient was using forbearance as a tool to artificially deflate
 delinquency and default rates. Additionally, Navient’s time limits on calls and
 scripting practices steered borrowers into forbearance and virtually precluded
 Navient employees from even having the opportunity to discuss IDR options with
 borrowers.
                      Investor Presentation – February 7, 2017

              At the February 7, 2017 Credit Suisse Financial Services Forum,
 Remondi emphasized Navient’s commitment to customers and the company’s
 compliance when he stated:

       At Navient what we do, we use a data-driven approach in the way we
       run our operations and how we help our customers that goes above and
       beyond what is required by our contracts with the Department Of
       Education as well as what's required by the regulatory framework. For
       our 12 million loan customers they are less likely to be delinquent,
       they're more likely to be enrolled in income driven repayment
       programs or alternative payment programs and they are 31% less
       likely to default. In fact, if all servicers met our default prevention
       activities last year, 300,000 fewer borrowers would have defaulted.
       ...
       Our data driven approach consistently deliver superior performance for
       our clients and we see that year in and year out in terms of the loan
       performance of lower delinquency and substantially lower default rates
       and we have a long history of a customer-first compliance-driven


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       operating environment. So the federal student loan programs have long
       been heavily regulated more for purposes of ensuring the government
       guarantee in the account, but we have built up over the years a very
       strong compliance and operating control structure. (emphasis added)
              The statements identified above in emphasis were materially
 misleading because they created the false impression that Navient was compliant,
 customer-oriented, and was helping borrowers to be put in the best program to avoid
 default. This statement also falsely portrayed that their customers are less likely to
 be delinquent. In reality, Navient was using forbearance as a tool to artificially
 deflate delinquency and default rates. Additionally, Navient’s time limits on calls
 and scripting practices steered borrowers into forbearance and virtually precluded
 Navient employees from even having the opportunity to discuss IDR options with
 borrowers. Finally, Navient’s loan payment applications were not compliant, and
 instead, were frequently being misapplied.
                         Annual Report – February 24, 2017
              In public statements, including annual report (Form 10-K) filings with
 the U.S. Securities and Exchange Commission signed by Defendants Remondi and
 Chivavibul, Navient Corporation (including its predecessor SLM Corporation) has
 boasted about its capabilities with respect to large-scale student loan servicing and
 collection, including helping consumers navigate the path to financial success and
 select the appropriate payment plan for their circumstances in an efficient, compliant
 manner. For instance, Navient Corporation’s 2016 10-K, filed February 24, 2017,
 include the following statements:

        Navient holds the largest portfolio of education loans insured or
         federally guaranteed under the Federal Family Education Loan
         Program (“FFELP”). We also hold the largest portfolio of Private
         Education Loans. Navient services its own portfolio of education
         loans, as well as education loans owned by the United States
         Department of Education (“ED”), financial institutions and
         nonprofit education lenders. Navient is one of the largest servicers


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          to ED under its Direct Student Loan Program (“DSLP”). Our data-
          driven insight, service and innovation support customers on the
          path to successful education loan repayment.

        For all our clients, we aim to improve their financial performance,
         optimize their operations, and maintain compassionate, compliant
         service for their customers and constituents.
        We continually make enhancements designed to help our
         customers, drawing from a variety of inputs including customer
         surveys, analysis of customer inquiries and complaint data,
         regulator commentary and website activity. . . We are committed to
         working with customers and appreciate customer comments,
         which, combined with our own customer communication channels,
         help us improve the ways we assist our customers.

        Navient believes the credit risk of the Private Education Loans it
         owns is well managed through the rigorous underwriting practices
         and risk-based pricing applied when the loans were originated, the
         continued high levels of qualified cosigners, our internal servicing
         and risk mitigation practices, and our careful use of forbearance
         and loan modification programs. (emphasis added).
              Other statements in the 2016 annual report related directly to Navient’s
 supposed efforts to enroll troubled borrowers in into the payment plan that is in the
 borrowers’ best interests. For example:
        Commitment to compliance and customer centricity. Navient
         fosters a robust compliance culture driven by a “customer first”
         approach. We invest in rigorous training programs, internal and
         external auditing, escalated service tracking and analysis, and
         customer research to enhance our compliance and customer service.
        Navient’s Approach Helps Education Loan Borrowers Achieve
         Success. Navient services loans for more than 12 million DSLP
         Loan, FFELP Loan, and Private Education Loan customers,
         including 6.2 million customers whose accounts are serviced under
         Navient’s contract with ED. We help our customers navigate the
         path to financial success through proactive outreach and
         innovative, data-driven approaches.



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        With customer success and default prevention as our top priorities,
         we apply data-driven outreach that draws from our more than 40
         years of experience . . . By tailoring our approach to each
         borrower’s unique situation — e.g., recent graduates, students re-
         entering school, those experiencing hardships or those with
         student debt but no degree — we help ensure industry-leading
         outcomes, as evidenced by a default rate that is 31 percent lower
         than other servicers.
        Getting borrowers into the right payment plans: We help
         customers understand the complex array of federal loan
         repayment options so they can make informed choices about the
         plans that are aligned with their financial circumstances and
         goals. We promote awareness of federal repayment plan options,
         including Income-Driven Repayment (“IDR”) . . . We also help
         borrowers understand that options lengthening their repayment
         term may increase the total cost of their loans, while reminding
         them that they may pay extra or switch repayment plans at any
         time.
        Forbearance involves granting the customer a temporary cessation
         of payments (or temporary acceptance of smaller than scheduled
         payments) for a specified period of time. . . . Our forbearance
         policies include limits on the number of forbearance months
         granted consecutively and the total number of forbearance months
         granted over the life of the loan. . . Forbearance as a recovery tool
         is used most effectively when applied based on a customer’s
         unique situation, including historical information and judgments.
         (emphasis added).
              The statements identified above in emphasis were materially
 misleading because they created the false impression that Navient was compliant,
 customer-oriented, and was helping borrowers to be put in the best program to avoid
 default. Additionally, this statement was materially misleading because it stated that
 it would help borrowers find repayment plans that are best for their unique situation.
 This statement also falsely portrayed that Navient’s customers are less likely to be
 delinquent and that forbearance was only granted very selectively. In reality, Navient
 was using forbearance as a tool to artificially deflate delinquency and default rates,

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 with forbearance granted liberally and repeatedly. Additionally, Navient’s time
 limits on calls and scripting practices steered borrowers, en masse, into forbearance
 and virtually precluded Navient employees from even having the opportunity to
 discuss IDR options with borrowers or learning of the borrowers’ unique
 circumstance in order to find the best plan for them.
                           Conference Call – April 19, 2017
              During Navient’s April 19, 2017 First Quarter conference call,
 Remondi promoted Navient’s ability to service loans on a large scale while also
 keeping the best interest of the borrower in mind. Referring to Navient’s agreement
 to purchase JPMorgan Chase’s approximately $6.9 billion education loan portfolio,
 Remondi said, “The agreement to purchase $6.9 billion in federal and private loans
 represents our unique capabilities to execute large, complex transactions. It's also a
 strong recognition of our ability to convert hundreds of thousands of borrowers to
 our servicing platform, using a highly regarded, well-tested and customer-centric
 conversion approach.” (emphasis added).
              The statements identified above in emphasis were materially
 misleading because they created the false impression that Navient was compliant,
 customer-oriented, with resources for large-scale loan servicing. In reality, Navient’s
 efforts to cut overhead led to time limits on calls and scripting practices that steered
 borrowers into forbearance, which was not a ‘customer-centric’ approach, but
 instead a cost-cutting approach.
                          Quarterly Report – April 27, 2017
              Navient, again, boasted about its capabilities with respect to large-scale
 student loan servicing and collection, including helping consumers navigate the path
 to financial success and select the appropriate payment plan for their circumstances
 in an efficient, compliant manner in its 10-Q for quarter ending March 31, 2017,



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 filed on April 27, 2017. These filings, signed by Defendants Remondi and Lown,
 stated:

        Navient holds the largest portfolio of education loans insured or
         federally guaranteed under the Federal Family Education Loan
         Program (“FFELP”). We also hold the largest portfolio of Private
         Education Loans. Navient services its own portfolio of education
         loans, as well as education loans owned by the United States
         Department of Education (“ED”), financial institutions and
         nonprofit education lenders. Navient is one of the largest servicers
         to ED under its Direct Student Loan Program (“DSLP”). Our data-
         driven insight, service and innovation support customers on the
         path to successful education loan repayment.
        For all our clients, we aim to improve their financial performance,
         optimize their operations, and maintain compassionate, compliant
         service for their customers and constituents.
        We continually make enhancements designed to help our
         customers, drawing from a variety of inputs including customer
         surveys, analysis of customer inquiries and complaint data,
         regulator commentary and website activity. . . We are committed to
         working with customers and appreciate customer comments,
         which, combined with our own customer communication channels,
         help us improve the ways we assist our customers. (emphasis
         added).

             Other statements in the 10-Q for quarter ending March 31, 2017, filed
 on April 27, 2017 related directly to Navient’s supposed efforts to enroll troubled
 borrowers in into the payment plan that is in the borrowers’ best interests. For
 example:
       Commitment to compliance and customer centricity. Navient
          fosters a robust compliance culture driven by a “customer first”
          approach. We invest in rigorous training programs, internal and
          external auditing, escalated service tracking and analysis, and
          customer research to enhance our compliance and customer
          service.



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        Navient’s Approach Helps Education Loan Borrowers Achieve
         Success. Navient services loans for more than 12 million DSLP
         Loan, FFELP Loan, and Private Education Loan customers,
         including 6.2 million customers whose accounts are serviced under
         Navient’s contract with ED. We help our customers navigate the
         path to financial success through proactive outreach and
         innovative, data-driven approaches.
        With customer success and default prevention as our top priorities,
         we apply data-driven outreach that draws from our more than 40
         years of experience . . . By tailoring our approach to each
         borrower’s unique situation — e.g., recent graduates, students re-
         entering school, those experiencing hardships or those with
         student debt but no degree — we help ensure industry-leading
         outcomes, as evidenced by a default rate that is 31 percent lower
         than other servicers.
        Getting borrowers into the right payment plans: We help
         customers understand the complex array of federal loan
         repayment options so they can make informed choices about the
         plans that are aligned with their financial circumstances and
         goals. We promote awareness of federal repayment plan options,
         including Income-Driven Repayment (“IDR”) . . . We also help
         borrowers understand that options lengthening their repayment
         term may increase the total cost of their loans, while reminding
         them that they may pay extra or switch repayment plans at any
         time.
        Forbearance involves granting the customer a temporary cessation
         of payments (or temporary acceptance of smaller than scheduled
         payments) for a specified period of time. . . . Our forbearance
         policies include limits on the number of forbearance months
         granted consecutively and the total number of forbearance months
         granted over the life of the loan. . . Forbearance as a recovery tool
         is used most effectively when applied based on a customer’s
         unique situation, including historical information and judgments.
         (emphasis added).
             On April 28, 2017, in Navient’s 2017 1First Quarter Investor Deck,
 Navient’s slide titled, “In Its Role As Student Loan Servicer, Navient Helps



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 Borrowers Successfully Repay Their Loans” described Navient’s role as follows:
 Navient works with borrowers to help them assess multiple repayment options and
 successfully repay loans. (emphasis added).
              The statements identified above in emphasis were materially
 misleading because they created the false impression that Navient was compliant,
 customer-oriented, and was helping borrowers to be put in the best program to avoid
 default. Additionally, this statement was materially misleading because it stated that
 it would help borrowers find repayment plans that are best for their unique situation.
 This statement also falsely portrayed that their customers are less likely to be
 delinquent and that forbearance was only granted very selectively. In reality, Navient
 was using forbearance as a tool to artificially deflate delinquency and default rates,
 with forbearance granted liberally and repeatedly. Additionally, Navient’s time
 limits on calls and scripting practices steered borrowers, en masse, into forbearance
 and virtually precluded Navient employees from even having the opportunity to
 discuss IDR options with borrowers or learning of the borrowers’ unique
 circumstance in order to find the best plan for them.
                        Investor Presentation – May 16, 2017
              On May 16, 2017, at the Barclays Americas Select Conference,
 Remondi discussed Navient’s processing solutions and rebutted the claims made in
 the CFPB, IL AG, and WA AG complaints when he stated:

             In business processing solutions, we have developed a very
       strong competency in managing large volumes of very complicated
       transactions and applying data analytics to those practices and
       routines to improve performance. And we do so in a very highly
       compliant manner.

       …




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               One of the claims in the suit is that we steer borrowers into
       non-income-driven repayment solutions, things like forbearance that
       are temporary repayment deferment solutions. Yet loans serviced by
       Navient are more likely to be enrolled in income-driven repayment
       programs than other servicers. I told you that our default rate is 31%
       lower than all other servicers, and our customers are less likely to be
       delinquent. One of the statistics that we find most telling in this space
       is that 9 times out of 10, when we can connect with a delinquent
       borrower, we're able to resolve that delinquency and keep the
       borrower out of default. And by contrast, 90% of the federal loan
       customers we service that do default each year ignore all of the outreach
       efforts that we make to assist them. So there's some clear opportunities
       for improvement, but we think the facts are going to stand on -- are
       going to show the right answer, and the courts will get to the right
       conclusions here. (emphasis added).

              The statements identified above in emphasis were materially
 misleading because they created the false impression that Navient able to handle
 large-volume loan servicing in a compliant, customer-oriented manner that was
 helping borrowers to be put in the best program to avoid default. Additionally, this
 statement was materially misleading it outright denied that Navient was steering
 borrowers into forbearance plans. In reality, Navient was using forbearance as a tool
 to artificially deflate delinquency and default rates, with forbearance granted
 liberally and repeatedly. Additionally, Navient’s time limits on calls and scripting
 practices steered borrowers, en masse, into forbearance and virtually precluded
 Navient employees from even having the opportunity to discuss IDR options with
 borrowers or learning of the borrowers’ unique circumstance in order to find the best
 plan for them. Additionally, Navient’s ability to service large volumes of loans was
 not due to resources or efficiency, but, instead, because of the practices of limiting
 call durations, which were ultimately detrimental to the borrower.




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                    Second Quarter Earnings Call – July 19, 2017
              Remondi again promoted Navient’s loan-processing abilities with
 focus on compliance and customer-oriented policies at the July 19, 2017 Second
 Quarter Earnings Call, when he stated, in reference to the proposal for the
 “recompete” of the federal student loan servicing contract:
       One of the largest opportunities is the recompete of the federal student
       loan servicing contract. The process has seen some delays, but final bids
       were submitted earlier this month. We believe our proposal meets or
       exceeds the deliverables set out in the RFP. Our strengths include our
       proven track record of high-quality, customer-centric account
       conversions, systems integrity, positive customer experience and of
       course, exceptional default prevention skills. Further, we would bring
       our superior track record of innovation and leveraging data analytics
       to drive customer success.

       ...

       The things that we believe standout in terms of our proposal is our long
       and very, very successful track record of converting substantial
       numbers of accounts on to our platform in a very customer-friendly
       way. We have a very detailed process that we follow there that involves
       how we communicate with the customer, educate them about the
       changes that are coming, and then complete that conversion process.
       We run today in our call centers a distributed call center function today,
       so this would be exactly what we do. And then the big value add that
       we bring to the equation is we've got this very extensive kind of data
       analytics or data-driven strategies that we built over time that allow
       us to deliver substantially better performance. (emphasis added).
              The statements identified above in emphasis were materially
 misleading because they created the false impression that Navient able to handle
 large-volume loan servicing in a compliant, customer-oriented manner that would
 result in customer success. In reality, Navient’s ability to service large volumes of
 loans was not due to resources or efficiency, but, instead, because of the practices of
 limiting call durations, which were ultimately detrimental to the borrower. These


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 durational limits on calls and scripting practices steered borrowers, en masse, into
 forbearance and was not a practice that would “drive customer success.”
                         Quarterly Report – August 1, 2017
             Navient promoted its capabilities with respect to large-scale student
 loan servicing and collection, including helping consumers navigate the path to
 financial success and select the appropriate payment plan for their circumstances in
 an efficient, compliant manner in its 10-Q for quarter ending June 30, 2017 filed on
 August 1, 2017. These filings, signed by Defendants Remondi and Lown, stated:

        Navient holds the largest portfolio of education loans insured or
         federally guaranteed under the Federal Family Education Loan
         Program (“FFELP”). We also hold the largest portfolio of Private
         Education Loans. Navient services its own portfolio of education
         loans, as well as education loans owned by the United States
         Department of Education (“ED”), financial institutions and
         nonprofit education lenders. Navient is one of the largest servicers
         to ED under its Direct Student Loan Program (“DSLP”). Our data-
         driven insight, service and innovation support customers on the
         path to successful education loan repayment.

        For all our clients, we aim to improve their financial performance,
         optimize their operations, and maintain compassionate, compliant
         service for their customers and constituents.
        We continually make enhancements designed to help our
         customers, drawing from a variety of inputs including customer
         surveys, analysis of customer inquiries and complaint data,
         regulator commentary and website activity. . . We are committed to
         working with customers and appreciate customer comments,
         which, combined with our own customer communication channels,
         help us improve the ways we assist our customers. (emphasis
         added).
             Other statements in the 10-Q for quarter ending June 30, 2017, filed on
 August 1, 2017 related directly to Navient’s supposed efforts to enroll troubled




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 borrowers in into the payment plan that is in the borrowers’ best interests. For
 example:

        Commitment to compliance and customer centricity. Navient
         fosters a robust compliance culture driven by a “customer first”
         approach. We invest in rigorous training programs, internal and
         external auditing, escalated service tracking and analysis, and
         customer research to enhance our compliance and customer
         service.
        Navient’s Approach Helps Education Loan Borrowers Achieve
         Success. Navient services loans for more than 12 million DSLP
         Loan, FFELP Loan, and Private Education Loan customers,
         including 6.2 million customers whose accounts are serviced under
         Navient’s contract with ED. We help our customers navigate the
         path to financial success through proactive outreach and
         innovative, data-driven approaches.
        With customer success and default prevention as our top priorities,
         we apply data-driven outreach that draws from our more than 40
         years of experience . . . By tailoring our approach to each
         borrower’s unique situation — e.g., recent graduates, students re-
         entering school, those experiencing hardships or those with student
         debt but no degree — we help ensure industry-leading outcomes,
         as evidenced by a default rate that is 31 percent lower than other
         servicers.
        Getting borrowers into the right payment plans: We help customers
         understand the complex array of federal loan repayment options so
         they can make informed choices about the plans that are aligned
         with their financial circumstances and goals. We promote
         awareness of federal repayment plan options, including Income-
         Driven Repayment (“IDR”) . . . We also help borrowers understand
         that options lengthening their repayment term may increase the
         total cost of their loans, while reminding them that they may pay
         extra or switch repayment plans at any time.
        Forbearance involves granting the customer a temporary cessation
         of payments (or temporary acceptance of smaller than scheduled
         payments) for a specified period of time. . . . Our forbearance


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          policies include limits on the number of forbearance months
          granted consecutively and the total number of forbearance months
          granted over the life of the loan. . . Forbearance as a recovery tool
          is used most effectively when applied based on a customer’s unique
          situation, including historical information and judgments. (emphasis
          added).
              On August 2, 2017, in Navient’s 2017 Second Quarter Investor Deck,
 Navient’s slide titled, “In Its Role As Student Loan Servicer, Navient Helps
 Borrowers Successfully Repay Their Loans” described Navient’s role as follows:
 Navient works with borrowers to help them assess multiple repayment options and
 successfully repay loans. (emphasis added).
              The statements identified above in emphasis were materially
 misleading because they created the false impression that Navient was compliant,
 customer-oriented, and was helping borrowers to be put in the best program to avoid
 default. Additionally, this statement was materially misleading because it stated that
 it would help borrowers find repayment plans that are best for their unique situation.
 This statement also falsely portrayed that their customers are less likely to be
 delinquent and that forbearance was only granted very selectively. In reality, Navient
 was using forbearance as a tool to artificially deflate delinquency and default rates,
 with forbearance granted liberally and repeatedly. Additionally, Navient’s time
 limits on calls and scripting practices steered borrowers, en masse, into forbearance
 and virtually precluded Navient employees from even having the opportunity to
 discuss IDR options with borrowers or learning of the borrowers’ unique
 circumstance in order to find the best plan for them.
                              *            *             *

              The statements in this subsection of the Complaint (identified above in
 emphasis) were false and/or materially misleading. Each statement created the false
 impression that Navient was a compliant, efficient, ‘customer-centric’ loan servicer



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 with resources to provide borrowers with competent advice and loan servicing that
 was in the best interest of the borrower on a large-scale basis. These also statements
 led investors to believe that use of forbearance was limited and for short-term use
 only.
              In reality, Navient actively steered borrowers into forbearance
 regardless of whether it was in the best interest of the borrower and, in fact, often
 omitted to even mention the more beneficial IDR options with borrowers. Navient
 indiscriminately and, often repeatedly, pushed borrowers experiencing long-term
 difficulties into forbearance which was severely damaging to borrowers because of
 the interest that would continue to accrue while the loan remained in forbearance.
              As discussed below, the PA AG Lawsuit alleged that Navient had on-
 going, non-compliant, and misleading loan servicing practices throughout the class-
 period. As discussed above, CW1 and CW2 verify the PA AG Lawsuit’s allegations
 that Navient’s non-compliant and misleading loan servicing practices were on-
 going, and occurred both prior to and continued through the class period.
              CW1 and CW2 described an employee incentive program that
 pressured employees to minimize call-length while also following a script in which
 forbearance was emphasized above all other options (while IDR was only offered as
 a last-resort when borrowers refused other options). CW1 described what he called
 a “hierarchy” of loan repayment options for borrowers experiencing financial
 difficulty. Navient systematically directed borrowers into forbearance programs,
 followed by the graduated repayment plan, then offering an extended payment plan,
 and finally offering income-driven repayment as a last resort. CW2 noted that some
 loan servicers were not even allowed to mention some of the negative consequences
 of forbearance.
              CW1 described the Navient bonus structure. CW1 said that he could
 earn as much as a $1,200 bonus per month. There were no incentive bonuses like on

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 a sales commission, but rather you would start out your month qualified for a bonus
 and slowly become disqualified for it if you did not meet very specific metrics. Those
 metrics included: staying below the 4-minute and average call time; caller survey
 ratings staying above a 90% satisfaction rating; number of calls resolved; and
 sticking to 95% adherence to the work schedule.
              Adherence refers to the fact that their work schedule was regulated
 down to the minute. If an employee clocked in at 8:30 a.m. and was schedule to be
 on break at 9:30 a.m., but a call went too long and the employee did not get off the
 phone until 9:45, they were considered “out of adherence.” Many workers would
 rush callers off the phone, particularly as it came close to break times or other
 adherence checks, so that they could stay in adherence and secure their bonuses.
              CW1 said there was a lot of pressure and attention paid to call time at
 Navient. The target time for an inbound call was 4 minutes or less. CW1 described
 that time as being insufficient for the complexity of the tasks at hand. Management
 would write up workers in the call center whose times were over the monthly average
 and/or above the 4-minute target. Management also judged on a peer-to-peer level,
 such that if everyone else in the call center was exceeding the 4-minute mark and
 completing calls in 2 minutes, then workers would be written up for that as well —
 because management believed you could be moving calls faster if your peers were
 moving calls faster.
              CW1 also noted that Management instructed loan specialists not to
 spend time walking borrowers through the Department of Education website.
 Instead, staff were told to direct borrowers to call the Department of Education for
 help with navigating the website.
              CW1 also described a piece of management software that supervisors
 use to monitor their call processors. That software shows how long everybody has
 been on the phone. When someone has been on the phone approaching 5 minutes,

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 their icon turns red. If it gets to 20 minutes, the icon starts flashing. CW1 said that
 because of this you would have team leads and supervisors sending him chat
 messages while he was on lengthy calls with borrowers telling him to end the call or
 find ways to get them off the call. CW1 said that this was particularly the case
 because supervisor’s bonuses were based on the adherence of the employees they
 supervised. He described one incident that a supervisor yelled at her subordinates
 because she did not get a bonus due to her subordinates being too far out of
 adherence.
              In addition, CW1 said there is a separate division called “workforce
 management” whose sole function is to enforce adherence. Workforce management
 staff would also simultaneously send chat messages telling CW1 and other callers to
 get off of lengthy calls.
              CW2 spoke of similar where inbound call representatives were given
 incentives to keep call times short and to encourage borrowers to opt in to paperless
 communications. He said that Navient there was an upper time limit for calls with
 borrowers of “seven-to-10 minutes.” He said Navient also sometimes offered
 incentives to representatives for doing things like enrolling buyers in paperless
 billing.
              CW2 said “I know they gave incentives depending on the situation, but
 mostly just for ending calls in time and we couldn’t put callers on hold for more than
 30 seconds.” That rule was problematic because if a representative did not know the
 answer to a question asked by a borrower the system did not leave much room for
 the worker to ask their supervisor without leaving the borrower on hold for too long
 and being penalized.
              CW2 also noted that even when putting borrowers into a forbearance
 agreement, he was often pressed for time. “The thing that does suck is, because we
 were timed, I caught myself and others reading really quick. Most people didn’t

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 understand and just agreed,” CW2 said. CW2 said he noticed himself speeding up
 about halfway through the script, as the clock ticked down because “We’d lose our
 bonus at the end of time.” To complete the forbearance script without going over the
 mandated time CW2 said, “We had to power talk to get through -- half the people
 didn’t understand what we said.”
                As the CWs note, because Navient representatives were so closely
 monitored for compliance and because their compensation was so closely tied to
 call-length, representatives were more concerned with staying in compliance to meet
 the financial incentives than in helping borrowers find the best repayment plan.
 Borrowers went to Navient looking for help, often at the instruction of the ED
 website, which encourages borrowers to contact their respective servicers for help,
 yet Navient’s cost-cutting and deceptive practices effectively deprived borrowers of
 any legitimate chance of loan repayment counseling.
                Further, Defendants knew that there were problems with their loan
 payment process, caused by Defendants’ practices and limited staffing resources. In
 fact, Defendants even maintained a database of payments that had been processed
 by Navient but not yet applied to any loans. In addition, Defendants knew of or
 intentionally disregarded the numerous calls from borrowers complaining about
 payments not being applied properly, or at all to loans. Despite maintaining this
 database as well as fielding calls from disgruntled borrowers whose payments had
 been misapplied or not applied at all, Navient still claimed to be compliant, highly
 efficient, ‘data-driven,’ and ‘customer-centric.’ The contradiction between
 Defendants’ statements and actual policies and practices is strong evidence that
 Defendants either intended to mislead investors or intentionally disregarded the risk
 of doing so.




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              The truth concerning Navient’s servicing practices was extremely
 important to investors and, had it been known, would have altered the total mix of
 information available to the public.
              Investor concern for compliance was heightened for investors in
 Navient, because, as company in an area of heavy regulation, had increased scrutiny
 due to recent allegations of non-compliant and misleading practices by the CFPB
 and two States’ Attorneys General.
              Additionally, Navient’s aggressive use of forbearances would have
 been material to investors because an increased number of forbearances allowed
 Navient to artificially decrease the number of defaults, delinquencies, and charge-
 offs on its loan portfolios as borrowers in forbearance were still considered “current”
 on their accounts. This, in turn, made Navient look like a less risky investment. It
 also allowed Navient to artificially understate its provisions for loan losses. And
 because loan loss provisions were recorded as an expense on Navient’s income
 statement, artificially depressing them allowed Navient to report artificially inflated
 net income and EPS. An artificially inflated net income and EPS would have been
 important to investors as those are key metrics that investors often use in evaluating
 a company.
              Further, Navient’s capacity to compliantly service loans was important
 to investors given the high level of regulation in the industry, the numerous ED
 contracts available at that time, as well as allocation of additional volume under the
 current ED contracts. For example, Compass Point Research & Trading, LLC notes
 in the Risks section of their analyst reports on Navient that, “The student lending
 industry faces significant regulation by states, the FDIC, the Department of
 Education, and the Consumer Financial Protection Bureau (CFPB).” Under the terms
 of the ED TIVAS contract extension, the allocation of additional volume will be
 determined twice each year based on the relative performance of the servicers

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 utilizing five performance metrics: borrowers in current repayment status (30
 percent), borrowers more than 90 but less than 271 days delinquent (15 percent),
 borrowers 271 days or more but less than 360 days delinquent (15 percent), a survey
 of borrowers (35 percent), and a survey of ED personnel (5 percent). As borrowers
 put in forbearance were considered to be in current repayment status, the
 misrepresentations of their practices would have been important to investors as it
 manipulated the data upon which future loan allocation, and correspondingly, future
 business, was based.
 J.       Pennsylvania Attorney General Files Consumer Protection Complaint
 Revealing the Truth and Investors Sustain Significant Damages
                Investors did not discover the truth about Navient’s servicing practices
 until October 5, 2017, when PA AG Josh Shapiro announced the filing of a lawsuit
 in United States District Court for the Middle District of Pennsylvania against
 Navient and one of its subsidiaries for engaging in unfair and deceptive lending and
 failed to offer proper prepayment plans to student.1
                The PA AG Lawsuit alleges that Navient violated state and federal law
 by failed to inform borrowers who were experiencing long-term financial hardship
 of more favorable loan payment options under an IDR plan and instead pushed
 borrowers into forbearance in an effort to cut costs and maximize profit which
 caused, or was likely to cause, substantial financial harm to the borrower.
 Specifically, the PA AG Lawsuit alleges that:

          109. Nevertheless, since at least July 2011, despite publicly assuring
          borrowers that it will help them identify and enroll in an appropriate,
          affordable repayment plan, Defendants have routinely disregarded that
          commitment and instead steered borrowers experiencing long-term
          financial hardship into forbearance.
      1
     Styled as Commonwealth of Pennsylvania, By Attorney General Josh Shapiro v. Navient
 Corporation and Navient Solutions, LLC, Case No. 3:17-cv-01814.



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       180. As described above, while engaging in trade or commerce within
       the Commonwealth through steering borrowers suffering long-term
       financial hardship into forbearance, Defendants:

          a. Misrepresented, either expressly or by implication, the suitability
             of certain federal loan repayment options for borrowers
             struggling with their payments;

          b. In phone calls, failed to meaningfully disclose to borrowers
             struggling to make their payments that the federal government
             offers IDR plans to help borrowers avoid default;

          c. Misrepresented that Defendants would “work with” borrowers
             struggling to pay their loans, “help [borrowers] make the right
             decision for [their] situation”; and “help [borrowers] by
             identifying options and solutions, so [borrowers] can make the
             right decision for [their] situation” when, in fact, Defendants in
             many instances did not do so; and

          d. Continuously offered forbearances to borrowers who
             demonstrated a long-term inability to repay, when in fact
             forbearance is intended for a temporary hardship.

             The PA AG Lawsuit alleges that Navient as violated state and federal
 law through repeated payment processing errors which caused substantial injury to
 consumer in the form of late fees, interest accrual, and negative credit reporting.
 Specifically, the PA AG Lawsuit alleges that:

       200. As described above, while engaging in trade or commerce within
       the Commonwealth through processing payments by borrowers and/or
       co-signors toward their student loans, Defendants:

          a. Unfairly made errors, sometimes month after month, in
             misallocating and misapplying payments made by borrowers;

          b. failed to implement adequate processes and procedures to
             prevent the same errors from recurring; and


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               c. misapplied and misallocated borrower payments.
                  In connection with filing the case, on October 5, 2017, PA AG Josh
 Shapiro released a statement stating, “Navient’s deceptive practices and predatory
 conduct harmed student borrowers and put their own profits ahead of the interests of
 millions of families across our country who are struggling to repay student loans.”
                  PA AG Shapiro also appeared on CNBC’s “Power Lunch” program on
 October 5, 2017, to give an in-depth interview concerning the allegations being
 leveled against Navient. “Power Lunch” is a daily, two hour-long television program
 that focuses exclusively on issues related to the stock market. It often features
 interviews with chief executive officers and other high-level executives as well as
 stock market analysts and investment bankers. The program, on average, is viewed
 by tens of thousands of viewers each day. During the interview, PA AG Shapiro
 said:

         I could care less about their [Navient’s] stock prices, I care about
         student loan holders in the Commonwealth of Pennsylvania and across
         the United States who have been victimized by widespread abuse from
         Navient, the largest student loan lender across our country with a big
         presence here in Pennsylvania. But one where we have seen students
         preyed upon, we have seen schemes from Navient that have cost
         billions of dollars that have been taken out of the pockets of students
         . . . the facts will clearly show that their widespread abuse has had an1
         effect, a negative effect, on student loan holders across this country…

         ...

         We want to change corporate behavior, we want to make sure the scales
         are tipped in favor of students, in favor of those who hold the loans.

         ...

         There are so many abuses, but here is one that is particularly horrible
         when it comes to these student loan holders. Navient had a program


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       where you could actually repay your student loan based on your
       earnings, right? And instead of steering these student loan holders
       towards that, they instead put them in a risky scheme where they
       jacked up the interest rates, and ultimately that scheme costs student
       loan holders four billion dollars. That is four billion dollars that they
       should never have had to pay in the first place, but because of this
       marketing practice – because they directed people that way- these
       student loan holders were left paying four billion dollars more than
       they needed to. There are so many abusive practices- there’s
       widespread abuse- that one is particularly egregious.
       (emphasis added)
              Numerous local and international media outlets reported on the PA AG
 Lawsuit on October 5, 2017, including Philadelphia’s The Inquirer, The Philadelphia
 Business Journal, U.S. News & World Report, ABC News, The Washington Post,
 Nasdaq.com, and Bloomberg. In each instance, reports focused squarely on
 widespread abuses in the student loan servicing business.
 K.    As a result of Defendants’ wrongful acts and omissions, and the
 precipitous decline in the market value of the Company’s securities, Plaintiffs
 and other Class members have suffered significant losses and damages.
              During the Class Period, as detailed herein, Navient and the defendants
 made false and misleading statements and engaged in a scheme to deceive the market
 and a course of conduct that artificially inflated the price of Navient’s securities and
 operated as a fraud or deceit on Class Period purchasers of Navient’s securities by
 materially misleading the investing public. Later, when Defendants’ prior
 misrepresentations and fraudulent conduct became apparent to the market, the price
 of Navient’s securities materially declined, as the prior artificial inflation came out
 of the price over time. As a result of their purchases of Navient’s securities during
 the Class Period, Plaintiffs and other members of the Class suffered economic loss,
 i.e., damages under federal securities laws.




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              Specifically, on October 4, 2017, Navient’s stock price closed at
 $14.70. On October 5, 2017, Navient’s stock price closed at $12.60 per share on
 unusually heavy volume. Between October 4, 2017 and October 5, 2017, Navient’s
 stock price fell $2.10 per share, a drop of approximately 14%, on the news of the
 Pennsylvania AG’s complaint. Barrons.com reported after market close on October
 5, 2017 that Navient’s market capitalization fell to $3.5 billion to from $4 billion the
 prior day. The significant decline in Navient’s stock price was caused directly by the
 Company’s continued misrepresentations about their practices which artificially
 inflated the stock price followed by yet another Attorney General filing another
 complaint alleging deceptive and misleading loan servicing practices in violation of
 Pennsylvania State and Federal Laws.
              CFRA Equity Analyst Scott Kessler wrote in his October 11, 2017
 report of Navient, “We also note an October 2017 lawsuit filed by the Pennsylvania
 Attorney General with what we see as more expansive accusations.” He also wrote
 in his research notes for October 5, 2017, “NAVI is down significantly today, as
 Pennsylvania's Attorney General sues the company, alleging “widespread abuses”
 in its student loan origination and servicing businesses, including “deceptive
 practices and predatory conduct [that] harmed student borrowers.” Although similar
 suits have been filed by the Consumer Financial Protection Bureau (CFPB), in
 Washington and Illinois, we note Pennsylvania is home to considerable student loan
 activity. Interestingly, NAVI also announces what we think is a smart proposed
 purchase of digital student loan company Earnest for $155 million.”
              The decline in Navient’s stock price was caused by the PA AG Lawsuit
 and related publicity. Investors discovered the true nature of Navient’s servicing
 practices (which had been previously concealed) and reacted sharply by selling the
 stock immediately. This resulted in damages to Navient investors.



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 L.    Defendants Acted with Scienter
                                  Knowledge of Falsity
              Defendants provided investors with material information concerning
 the Company’s loan servicing practices and capabilities, holding themselves out to
 be a compliant loan servicer with low default rates due to their highly efficient, ‘data-
 driven,’ ‘customer-centric’ practices while at the same time knowing that their
 practices were not highly efficient, ‘data-driven,’ or ‘customer-centric,’ and the
 reason for the low default rates were due to Navient’s practice of driving borrowers
 into forbearance. Three key facts support the conclusion that Defendants knew
 Navient was engaging in the improper, illicit servicing conduct described above:
              First, Navient was the subject of several lawsuits prior to the start of the
 class period. These lawsuits focused on the ‘forbearance scheme’ as well as various
 problems with loan servicing, thus defendants were on notice of their conduct and
 that their public statements were materially misleading.
              The egregiousness, pervasiveness, and duration of Navient’s
 undisclosed forbearance practices which began long before the class period strongly
 indicate senior management knew of and approved those practices, or could only
 have disregarded them by consciously turning a blind eye to them. Moreover,
 Defendants rejected the notion of any wrongdoing in response to the CFPB, IL AG,
 and WA AG complaints, meaning that they were on notice of the wrongdoing. The
 PA AG Lawsuit similarly describes the pervasiveness and systematic nature of
 Navient’s forbearance practices.
              Second, Navient implemented and maintained compensation plans that
 steered borrowers into forbearance plans while also minimizing call time in which
 customers might be serviced. These compensation plans and practices for handling
 calls were in accordance with Navient policies and, therefore, would not have existed
 without the individual defendants’ approval.

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              Additionally, as detailed in the various CFPB, IL AG, WA AG, and PA
 AG complaints, these improper loan servicing practices were not the sporadic
 actions of rogue employees, but rather highly systematized, including through the
 use of scripts. Such a streamlined process for dealing with borrowers could not have
 been implemented without the knowledge and approval of senior management.
              In fact, Navient’s employee compensation plans incentivized against
 the exact practices that Navient boasted as merits. The contradiction between
 Defendants’ statements and actual policies and practices is strong evidence that
 Defendants knew that Navient’s public statements were false and either intended to
 mislead investors or recklessly disregarded the risk of doing so.
              Third, the forbearance scheme and loan servicing practice (often
 resulting misapplication or non-application of payments) impacted Navient’s bottom
 line in a material manner, so much so that the forbearance scheme amounted to an
 integral part of the company’s core operations. These practices allowed Defendants
 to minimize costs by paying fewer workers to process more calls and payments while
 also manipulating financials such that more loans would be listed as current, thus
 allowing for a higher EPS as well as appearing less risky to investors. This also
 allowed Defendants to be able to report better metrics to ED to allow for increased
 allocations of Federal Loans. The Individual Defendants oversaw all material
 aspects of Navient’s day-to-day operations and, therefore, would have been aware
 of the forbearance scheme and its material effect on Navient’s financials.
              Navient maintained incentive policies that encouraged the improper
 forbearance practices. Senior executives would have known about such widespread
 practices spawned by Company policies that were implemented by management.
 There was nothing more critical to Navient’s financial results and prospects for
 future ED contracts than Navient’s financial results and servicing data. Navient’s



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 pervasive practice of placing borrowers into forbearance materially impacted the
 Company’s financial results and thus went to the Company’s core operations.
              As noted above, misusing forbearances allowed Navient to artificially
 understate the levels of delinquencies, defaults, and charge-offs in its loan portfolios,
 as borrowers in forbearance were still considered “current” on their accounts.
 Understating delinquencies, defaults, and charge-offs allowed Navient in turn to
 artificially understate its provisions for loan losses. And because loan loss provisions
 were recorded as an expense on Navient’s income statement, artificially depressing
 them allowed Navient to report artificially inflated net income and EPS. That
 manipulation of core financial information would have required the knowledge (or
 reckless disregard) of Navient’s senior executives.
              Defendants acted with scienter when making their representations
 concerning Navient’s servicing practices. Given the pervasiveness of improper loan-
 servicing activities at Navient, it is inconceivable that the Company’s senior
 executives, were unaware of them. Particularly so given that, as with forbearances
 and related issues, legal compliance was at the core of Navient’s operations. Indeed,
 it was necessary to the Company’s very survival, given the particular significance of
 legal compliance to a heavily regulated entity like Navient.
                                Motive and Opportunity
              On January 18, 2017, in response to three complaints filed by the IL
 and WA Attorneys General and the CFPB, Navient denied any wrong-doing and
 began a ten-month charade to mislead both investors and the Department of
 Education into believing that Navient was a compliant loan servicer with low default
 rates due to their highly efficient, ‘data-driven,’ ‘customer-centric’ practices. By
 driving students into forbearance as opposed to taking the time to explain loan
 options, Navient was able to accomplish a number of goals.



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              Navient, through the use of an employee incentive program to limit call
 times and a script in which borrowers were steered into forbearance program, was
 able to keep labor costs down by processing more calls from borrowers in less time
 with fewer employees. Navient placed borrowers into forbearance in lieu of
 counseling and enrollment in IDR programs. As described above, the process to
 explain and enroll a borrower in forbearance was far less time-consuming than the
 process for explaining various IDR options and enrolling borrowers in the program,
 thus by utilizing a script that pushed forbearance over IDR, Navient was able to
 service more troubled borrowers in less time and with fewer employees.
              This policy, while beneficial to the company by limiting overhead, was
 detrimental to borrowers and in direct conflict with Navient’s practices as
 represented to the public and Department of Education. Navient placed borrowers
 into forbearance in lieu of counseling and enrolling them in alternative repayment
 programs, including IDR plans. In doing so, Navient avoided (at borrowers’
 expenses) the higher operational costs associated with properly counseling and
 enrolling borrowers in such plans. That is, it would take significantly more time, and
 thus employee resources, to shepherd a borrower through the process of getting into
 an alternative repayment plan than simply to place her into forbearance. As the
 CFPB explained, “[a]s the volume of [IDR] plan applications and renewals received
 by Navient increases, Navient also has to increase the size of its staff to review and
 process those forms, thereby increasing operating costs.” Navient thus avoided those
 necessary operating costs by improperly placing borrowers into forbearance. That,
 in turn, would necessitate hiring more personnel to meet the needs of Navient’s
 customer base. By eschewing its stated commitment to promote borrowers’ best
 interests, Navient artificially kept its operational costs lower than they should have
 been.



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              Defendants also pushed borrowers into forbearance to avoid having to
 classify those borrowers as delinquent or in default, which would raise a red flag to
 analysts and investors that Navient’s loan portfolios were exposed to higher levels
 of risk than Defendants disclosed, and that the Company was in turn a riskier
 investment than Defendants portrayed to the market. This was beneficial to Navient
 because it portrayed as being a less risky investment to investors.
              Increases in delinquencies, defaults, and charge-offs caused the
 Company to increase its loan loss provisions, whereas favorable delinquency and
 default trends correspond with lower provisions. The provision for loan losses
 “increases the related allowance for loan losses,” i.e., the total reserve set aside to
 address charge-offs. Navient records those provisions as an expense on its income
 statement, so lower provisions allow the Company to report higher income, resulting
 in higher EPS. By overusing forbearances, Navient artificially kept delinquencies,
 defaults, and charge-offs lower than they should have been, which in turn allowed
 the Company to report artificially low loan loss provisions as well as
 correspondingly high net income and EPS.
              This process was additionally beneficial to Navient because by pushing
 borrowers into forbearance, and then, often, repeatedly enrolling borrowers in
 forbearance programs, Navient was able to keep borrowers out of delinquency or
 default while continuing to accrue and capitalize interest on the loans.
              Additionally, using forbearance to artificially increase EPS, Navient
 was able to artificially decrease delinquencies and defaults, which are key metrics
 that ED uses in analyzing how to allocate additional loan servicing under the TIVAS
 contracts.
              Navient had Management Incentive Plan for Navient’s Named
 Executive Officers (“NEOs”) designed to drive performance metrics that aligned
 with Navient’s business objectives. For 2016, these performance metrics included

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 (i) EPS on a “Core Earnings” basis, (ii) strategic debt financing proceeds, and (iii)
 private education loan defaults. As Navient noted in its Proxy Statement dated April
 13, 2017, “Gross loan defaults is a key metric used by our investors and others to
 measure the performance of our loan portfolios.” There was a target for each of the
 performance metrics, with a weight assigned to each metric, as well as a scale of
 “payout factors” to assess the Company’s performance relative to target. These
 payout factors range from 50% based on a threshold level of performance, to 150%
 based on a maximum level of performance, with performance below threshold
 resulting in a payout factor of 0%. The weight-value for the Performance Metrics
 were broken down as follows - the Earnings Per Share on a “Core Earnings” Basis
 was weighted at 40%, Strategic Debt Financing Proceeds was weighted at 20%, Fee
 Income (generated through loan servicing, asset recovery, and other business
 processing activities) was weighted at 10%, Private Education Loan Gross Defaults
 were weighted at 15% and Revenue from Growth Business (non-federal-loan-related
 business) was weighted at 15%.
              For 2016, Navient’s performance resulted in above-target payments
 under the 2016 Management Incentive Plan. Under the 2016 Management Incentive
 Plan, NEO’s received bonus which were 166.665% (150% times 11.1%) of their
 respective base salaries, in addition to their base salaries Remondi received
 $1,666,500 while Chivavibul received $633,270 in additional compensation on top
 of their respective base salaries. Remondi’s base salary for 2016 was $1,000,000
 while Chivavibul received $380,000. Such large performance-based compensations
 were strong incentives for the NEOs to manipulate EPS and loan default statistics.
              Further, by increasing the number of trouble borrowers serviced in a
 compliant manner, with in shorter times, and with lower labor costs, Navient was
 able to make itself more attractive to the ED in that Navient could boast its capacity
 to service high volumes of loans at lower costs. This was particularly important

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 during 2017 when the Trump administration was trying make a number of changes
 and offering new loan servicing contracts. For instance, Wedbush noted on April 17,
 2017 in its report on Navient that actions by ED Secretary Betsy DeVos to issue a
 memo on` her purposed single-servicer contract “is a reset that could ultimately
 extend to all areas of related servicing and open doors previous closed to Navi with
 the Department of Education.”
              Navient also continued to misrepresent that it was a compliant, highly
 efficient, ‘data-driven’ loan servicer with ‘customer-centric’ practices despite on-
 going issues with misapplication of loan payments and numerous customer
 complaints associated with this problem. As discussed above, Navient had a strong
 motive to hold itself out as being a compliant, efficient, customer-oriented loan
 servicer so that it could put itself in a better place to win various ED contracts.
 M.    Presumption of Reliance; Fraud-On-The-Market
              At all relevant times, the market for Navient’s common stock was an
 efficient market for the following reasons, among others:
       (a)    Navient’s common stock met the requirements for listing and was listed
              and actively traded on the NASDQ Exchange, a highly efficient and
              automated market;
       (b)    Navient communicated with public investors via established market
              communication mechanisms, including disseminations of press
              releases on the national circuits of major newswire services and other
              wide-ranging public disclosures, such as communications with the
              financial press and other similar reporting services;
       (c)    Navient was followed by several securities analysts employed by major
              brokerage firms who wrote reports that were distributed to the sales
              force and certain customers of their respective brokerage firms during



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              the Class Period. Each of these reports was publicly available and
              entered the public marketplace; and
       (d)    Unexpected material news about Navient was reflected in and
              incorporated into the Company’s stock price during the Class Period.
              As a result of the foregoing, the market for Navient’s common stock
 promptly digested current information regarding Navient from all publicly available
 sources and reflected such information in Navient’s stock price. Under these
 circumstances, all purchasers of Navient’s common stock during the Class Period
 suffered similar injury through their purchase of Navient’s common stock at
 artificially inflated prices, and a presumption of reliance applies.
              Alternatively, reliance need not be proven in this action because the
 action involves omissions and deficient disclosures. Positive proof of reliance is not
 a prerequisite to recovery pursuant to ruling of the United States Supreme Court in
 Affiliated Ute Citizens of Utah v. United States, 406 U.S. 128 (1972). All that is
 necessary is that the facts withheld be material in the sense that a reasonable investor
 might have considered the omitted information important in deciding whether to buy
 or sell the subject security.
 N.    No Safe Harbor: Inapplicability of Bespeaks Caution Doctrine
              The statutory safe harbor provided for forward-looking statements
 under certain circumstances does not apply to any of the material misrepresentations
 and omissions alleged in this Complaint.
              To the extent certain of the statements alleged to be misleading or
 inaccurate may be characterized as forward looking, they were not identified as
 “forward-looking statements” when made and there were no meaningful cautionary
 statements identifying important factors that could cause actual results to differ
 materially from those in the purportedly forward-looking statements.



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              Defendants are also liable for any false or misleading “forward-looking
 statements” pleaded because, at the time each “forward-looking statement” was
 made, the speaker knew the “forward-looking statement” was false or misleading
 and the “forward-looking statement” was authorized and/or approved by an
 executive officer of Navient who knew that the “forward-looking statement” was
 false. Alternatively, none of the historic or present-tense statements made by the
 defendants were assumptions underlying or relating to any plan, projection, or
 statement of future economic performance, as they were not stated to be such
 assumptions underlying or relating to any projection or statement of future economic
 performance when made, nor were any of the projections or forecasts made by the
 defendants expressly related to or stated to be dependent on those historic or present-
 tense statements when made.
                PLAINTIFFS’ CLASS ACTION ALLEGATIONS
              Plaintiffs bring this action as a class action pursuant to Federal Rule of
 Civil Procedure 23(a) and (b)(3) on behalf of a Class, consisting of all those who
 purchased or otherwise acquired Navient securities during the Class Period (the
 “Class”); and were damaged upon the revelation of the alleged corrective disclosure.
 Excluded from the Class are defendants herein, the officers and directors of the
 Company, at all relevant times, members of their immediate families and their legal
 representatives, heirs, successors or assigns and any entity in which defendants have
 or had a controlling interest.
              The members of the Class are so numerous that joinder of all members
 is impracticable. Throughout the Class Period, Navient securities were actively
 traded on the NASDAQ market. While the exact number of Class members is
 unknown to Plaintiffs at this time and can be ascertained only through appropriate
 discovery, Plaintiffs believe that there are hundreds or thousands of members in the
 proposed Class. Record owners and other members of the Class may be identified

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 from records maintained by Navient or its transfer agent and may be notified of the
 pendency of this action by mail, using the form of notice similar to that customarily
 used in securities class actions. As of September 30, 2017, there were 263,012,203
 shares of Navient common stock outstanding. Upon information and belief, these
 shares are held by thousands, if not millions, of individuals located throughout the
 country and possibly the world. Joinder would be highly impracticable.
              Plaintiffs’ claims are typical of the claims of the members of the Class
 as all members of the Class are similarly affected by defendants’ wrongful conduct
 in violation of federal law that is complained of herein.
              Plaintiffs will fairly and adequately protect the interests of the members
 of the Class and have retained counsel competent and experienced in class and
 securities litigation. Plaintiffs have no interests antagonistic to or in conflict with
 those of the Class.
              Common questions of law and fact exist as to all members of the Class
 and predominate over any questions solely affecting individual members of the
 Class. Among the questions of law and fact common to the Class are:
       (a)    whether the federal securities laws were violated by defendants’ acts as
              alleged herein;

       (b)    whether statements made by defendants to the investing public during
              the Class Period misrepresented material facts about the business,
              operations and management of Navient;

       (c)    whether the Individual Defendants caused Navient to issue false and
              misleading financial statements during the Class Period;

       (d)    whether defendants acted knowingly or recklessly in issuing false and
              misleading financial statements;


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        (e)    whether the prices of Navient’s securities during the Class Period were
               artificially inflated because of the defendants’ conduct complained of
               herein; and

        (f)    whether the members of the Class have sustained damages and, if so,
               what is the proper measure of damages.
               A class action is superior to all other available methods for the fair and
 efficient adjudication of this controversy since joinder of all members is
 impracticable. Furthermore, as the damages suffered by individual Class members
 may be relatively small, the expense and burden of individual litigation make it
 impossible for members of the Class to individually redress the wrongs done to them.
 There will be no difficulty in the management of this action as a class action.
                                       COUNT I
              Against Defendants Navient and Individual Defendants
    for Violations of Section 10(b) and Rule 10b-5 Promulgated Thereunder
               Plaintiffs repeat and reallege each and every allegation contained above
 as if fully set forth herein.
               This Count is asserted against defendants and is based upon Section
 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 promulgated
 thereunder by the SEC.
               During the Class Period, defendants engaged in a plan, scheme,
 conspiracy and course of conduct, pursuant to which they knowingly or recklessly
 engaged in acts, transactions, practices and courses of business which operated as a
 fraud and deceit upon Plaintiffs and the other members of the Class; made various
 untrue statements of material facts and omitted to state material facts necessary in
 order to make the statements made, in light of the circumstances under which they
 were made, not misleading; and employed devices, schemes and artifices to defraud


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 in connection with the purchase and sale of securities. Such scheme was intended to,
 and, throughout the Class Period, did: (i) deceive the investing public, including
 Plaintiffs and other Class members, as alleged herein; (ii) artificially inflate and
 maintain the market price of Navient securities; and (iii) cause Plaintiffs and other
 members of the Class to purchase or otherwise acquire Navient’s securities and
 options at artificially inflated prices. In furtherance of this unlawful scheme, plan
 and course of conduct, defendants, and each of them, took the actions set forth
 herein.
              Pursuant to the above plan, scheme, conspiracy and course of conduct,
 each of the defendants participated directly or indirectly in the preparation and/or
 issuance of the quarterly and annual reports, SEC filings, press releases and other
 statements and documents described above, including statements made to securities
 analysts and the media that were designed to influence the market for Navient’s
 securities. Such reports, filings, releases and statements were materially false and
 misleading in that they failed to disclose material adverse information and
 misrepresented the truth about Navient’s finances and business prospects.
              By virtue of their positions at Navient, defendants had actual
 knowledge of the materially false and misleading statements and material omissions
 alleged herein and intended thereby to deceive Plaintiffs and the other members of
 the Class, or, in the alternative, defendants acted with reckless disregard for the truth
 in that they failed or refused to ascertain and disclose such facts as would reveal the
 materially false and misleading nature of the statements made, although such facts
 were readily available to defendants. Said acts and omissions of defendants were
 committed willfully or with reckless disregard for the truth. In addition, each
 defendant knew or recklessly disregarded that material facts were being
 misrepresented or omitted as described above.



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              Information showing that defendants acted knowingly or with reckless
 disregard for the truth is peculiarly within defendants’ knowledge and control. As
 the senior managers and/or directors of Navient, the Individual Defendants had
 knowledge of the details of Navient’s internal affairs.
              The Individual Defendants are liable both directly and indirectly for the
 wrongs complained of herein. Because of their positions of control and authority,
 the Individual Defendants were able to and did, directly or indirectly, control the
 content of the statements of Navient. As officers and/or directors of a publicly-held
 company, the Individual Defendants had a duty to disseminate timely, accurate, and
 truthful information with respect to Navient’s businesses, operations, future
 financial condition and future prospects. As a result of the dissemination of the
 aforementioned false and misleading reports, releases and public statements, the
 market price of Navient’s securities was artificially inflated throughout the Class
 Period. In ignorance of the adverse facts concerning Navient’s business and financial
 condition which were concealed by defendants, Plaintiffs and the other members of
 the Class purchased or otherwise acquired Navient’s securities at artificially inflated
 prices and relied upon the price of the securities, the integrity of the market for the
 securities and/or upon statements disseminated by defendants, and were damaged
 thereby.
              During the Class Period, Navient’s securities were traded on an active
 and efficient market. Plaintiffs and the other members of the Class, relying on the
 materially false and misleading statements described herein, which the defendants
 made, issued or caused to be disseminated, or relying upon the integrity of the
 market, purchased or otherwise acquired shares of Navient’s securities at prices
 artificially inflated by defendants’ wrongful conduct. Had Plaintiffs and the other
 members of the Class known the truth, they would not have purchased or otherwise
 acquired said securities, or would not have purchased or otherwise acquired them at

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 the inflated prices that were paid. At the time of the purchases and/or acquisitions
 by Plaintiffs and the Class, the true value of Navient’s securities was substantially
 lower than the prices paid by Plaintiffs and the other members of the Class. The
 market price of Navient’s securities declined sharply upon public disclosure of the
 facts alleged herein to the injury of Plaintiffs and Class members.
              By reason of the conduct alleged herein, defendants knowingly or
 recklessly, directly or indirectly, have violated Section 10(b) of the Exchange Act
 and Rule 10b-5 promulgated thereunder.
              As a direct and proximate result of defendants’ wrongful conduct,
 Plaintiffs and the other members of the Class suffered damages in connection with
 their respective purchases, acquisitions and sales of the Company’s securities during
 the Class Period, upon the disclosure that the Company had been disseminating
 misrepresented financial statements to the investing public.
                                      COUNT II
     Against the Individual Defendants for Violations of Section 20(a) of the
                                     Exchange Act
              Plaintiffs repeats and realleges each and every allegation contained in
 the foregoing paragraphs as if fully set forth herein.
              During the Class Period, the Individual Defendants participated in the
 operation and management of Navient, and conducted and participated, directly and
 indirectly, in the conduct of Navient’s business affairs. Because of their senior
 positions, they knew the adverse non-public information about Navient’s
 misstatement of income and expenses and false financial statements.
              As officers and/or directors of a publicly owned company, the
 Individual Defendants had a duty to disseminate accurate and truthful information
 with respect to Navient’s financial condition and results of operations, and to correct



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 promptly any public statements issued by Navient which had become materially
 false or misleading.
              Because of their positions of control and authority as senior officers,
 the Individual Defendants were able to, and did, control the contents of the various
 reports, press releases and public filings which Navient disseminated in the
 marketplace during the Class Period concerning Navient’s operations. Throughout
 the Class Period, the Individual Defendants exercised their power and authority to
 cause Navient to engage in the wrongful acts complained of herein. The Individual
 Defendants therefore, were “controlling persons” of Navient within the meaning of
 Section 20(a) of the Exchange Act. In this capacity, they participated in the unlawful
 conduct alleged which artificially inflated the market price of Navient’s securities.
              Each of the Individual Defendants, therefore, acted as a controlling
 person of Navient. By reason of their senior management positions and/or being
 directors of Navient, each of the Individual Defendants had the power to direct the
 actions of, and exercised the same to cause, Navient to engage in the unlawful acts
 and conduct complained of herein. Each of the Individual Defendants exercised
 control over the general operations of Navient and possessed the power to control
 the specific activities which comprise the primary violations about which Plaintiffs
 and the other members of the Class complain.
              By reason of the above conduct, the Individual Defendants are liable
 pursuant to Section 20(a) of the Exchange Act for the violations committed by
 Navient.
                              PRAYER FOR RELIEF

       WHEREFORE, Plaintiffs demand judgment against defendants as follows:




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       A.     Determining that the instant action may be maintained as a class action
 under Rule 23 of the Federal Rules of Civil Procedure, and certifying Plaintiffs as
 the Class representative;
       B.     Requiring defendants to pay damages sustained by Plaintiffs and the
 Class by reason of the acts and transactions alleged herein;
       C.     Awarding Plaintiffs and the other members of the Class pre-judgment
 and post-judgment interest, as well as their reasonable attorneys’ fees, expert fees
 and other costs; and
       D.     Awarding such other and further relief as this Court may deem just and
 proper.

                        DEMAND FOR TRIAL BY JURY

       Plaintiffs hereby demand a trial by jury.

 Dated: April 3, 2018                   LEVI & KORSINSKY, LLP

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                                    Counsel for Plaintiffs and Lead Counsel for
                                    the Class




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                           CERTIFICATE OF SERVICE

       I, Eduard Korsinsky, hereby certify that on April 3, 2018, I authorized the
 electronic filing of the foregoing complaint with the Clerk of the Court using the
 CM/ECF system which will send notification of such filing to the registered
 participants as identified on the Notice of Electronic Filing.

                                             /s/ Eduard Korsinsky
                                             Eduard Korsinsky
